       Case 1:17-cv-00708-CRC Document 15-1 Filed 02/19/18 Page 1 of 70



                       UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA
____________________________________
                                     )
AMERICAN-ARAB ANTI-                  )
DISCRIMINATION COMMITTEE            )
                                    )
            Plaintiff,              )
                                    )
      v.                            )   Civil Action No. 1:17-cv-00708-CRC
                                    )
U.S. CUSTOMS AND BORDER             )
PROTECTION,                         )
                                    )
            Defendant.              )
____________________________________)

                         DECLARATION OF PATRICK HOWARD

I, Patrick A. Howard, declare the following to be true and correct:

       1.      I am a Branch Chief in the Freedom of Information Act (FOIA) Division at

U.S. Customs and Border Protection (CBP). I have been a Branch Chief in the FOIA Division in

Washington, D.C. since February 8, 2015. In this capacity, I oversee a staff of Government

Information Specialists, the processing of requests for records submitted to CBP pursuant to the

FOIA, 5 U.S.C. § 552, the Privacy Act (PA), 5 U.S.C. § 552a, and other activities conducted

pursuant to applicable records access provisions.

       2.      I am familiar with CBP’s procedures for responding to FOIA requests. I provide

technical and administrative supervision and direction to a group of FOIA specialists in

processing FOIA requests and assist with FOIA/PA litigation matters, and I am personally

familiar with the processing of FOIA/PA responses, including, at times, by directly reviewing for

adequacy and compliance with federal laws and regulations.




                                                1
         Case 1:17-cv-00708-CRC Document 15-1 Filed 02/19/18 Page 2 of 70



         3.        I am familiar with the March 9, 2017 corrected FOIA request 1 submitted to CBP

by American-Arab Anti-Discrimination Committee (hereinafter “Plaintiff”). See Exhibit C. The

statements I make in this declaration are based on my personal knowledge, which includes

knowledge acquired through information furnished to me in the course of my official duties and

through agency files that I personally reviewed in the course of my official duties.

         4.        The purpose of this Declaration is to describe CBP’s handling of Plaintiff’s FOIA

request. This Declaration summarizes the relevant facts and correspondence regarding Plaintiff’s

FOIA request, explains the searches CBP conducted in responding to the request, details CBP’s

withholdings of responsive information pursuant to FOIA exemptions, in accordance with the

requirements of Vaughn v. Rosen, 484 F.2d 820 (D.C. Cir. 1973), and addresses the segregability

of documents partially withheld or withheld in full.

    I.        Plaintiff’s FOIA Request

         5.        On March 8, 2017, Plaintiff filed a FOIA request using CBP’s online FOIA

portal. See Exhibit A. On March 9, 2017, Plaintiff filed a corrected FOIA request modifying the

dates for which records were requested. See Exhibit C.

         6.        Plaintiff’s FOIA request sought disclosure of records pertaining to the operation

of CBP’s Global Entry program. In particular, Plaintiff set out the following six categories of

requested information:

               1) All agency records relating to each revocation, suspension, or termination of
                  Global Entry System (GES) participation from November 9, 2016 to the date of
                  the agency’s response to this request.




1
  Plaintiff submitted its original FOIA request on March 8, 2017, see Exhibit A, which the agency assigned tracking
number CBP-2017-037684, see Exhibit B. On March 9, 2017, Plaintiff submitted a corrected FOIA request that
modified the dates for which the records were requested. See Exhibit C. This corrected request was assigned
tracking number CBP-2017-038185. See Exhibit D.

                                                         2
          Case 1:17-cv-00708-CRC Document 15-1 Filed 02/19/18 Page 3 of 70



                2) All agency records showing the annual total of revocations, suspensions, or
                   terminations of (GES) permissions between January 1, 2012 and November 8,
                   2016.

                3) All agency records showing reversal or confirmation of CBP’s GES revocation
                   decisions by the CBP Ombudsman’s office.

                4) Any agency policy, practice, memorandum, training, guidance, communication,
                   or other similar record created on or after November 9, 2016 relating to the
                   suspension, revocation, or termination of GES.

                5) Any agency policy, practice, memorandum, training, communication or other
                   similar record created on or after November 9, 2016 that alters, modifies, or in
                   any way affects CBP’s prior practices and policies with respect to GES screening,
                   investigation, or revocation.

                6) Any agency records created on or after November 9, 2016 relating to operation or
                   functioning of the GES program containing any of the following the words or
                   phrases, whether in their singular or plural forms: “Muslim”, “Arab”, “Ban”,
                   “Muslim Ban”, or “Travel Ban”.

          7.       Plaintiff’s FOIA request sought expedited processing and a waiver of associated

fees. See Exhibits A, C.

          8.       On March 9, 2017, CBP acknowledged receipt of Plaintiff’s FOIA request and

assigned it tracking number CBP-2017-038185. See Exhibit D.

          9.       On April 18, 2017, Plaintiff filed the instant lawsuit. See Exhibit E.

          10.      In response to Plaintiff’s FOIA request, CBP released to Plaintiff 503 pages of

non-exempt records, or non-exempt portions of records, and 26 spreadsheets 2 in Microsoft Excel

format. CBP did not charge fees to Plaintiff for this response.

    II.        CBP’s Trusted Traveler Programs and CBP Trusted Traveler Ombudsman

          11.      CBP is a component law enforcement agency of the U.S. Department of

Homeland Security (DHS) with statutory responsibility for safeguarding America’s borders and



2
 Each spreadsheet contains hundreds of lines of information and if printed in a pdf file format would have
collectively amounted to hundreds of pages of information.

                                                         3
        Case 1:17-cv-00708-CRC Document 15-1 Filed 02/19/18 Page 4 of 70



facilitating legitimate trade and travel. CBP is comprised of over 60,000 employees charged

with enforcing over 400 federal statutes on behalf of over 40 different federal agencies. CBP’s

mission is to protect the borders of the United States against terrorists and instruments of terror,

enforce the customs and immigration laws of the United States, and foster our Nation’s economy

by facilitating lawful international trade and travel. This mission includes the detection and

prevention of unlawful entry into the United States. The creation and implementation of

effective law enforcement policies and procedures is paramount to achieving this mission. The

records at issue in this case are directly related to CBP’s law enforcement activities and are used

for border security and enforcement purposes.

       12.     The Office of Field Operations (OFO) within CBP is responsible for enforcing

numerous federal statutes and regulations, including those related to customs, immigration,

agriculture, public health and safety, at our nation’s 328 ports of entry and 15 preclearance

locations. OFO is comprised of nearly 30,000 employees.

       13.     The Admissibility and Passenger Programs Office (APP), located at CBP

Headquarters in Washington D.C., is the office within OFO responsible for programmatic

oversight of OFO’s operations in relation to travelers seeking entry to the United States. It

oversees several smaller officers, one of which is the Trusted Traveler Programs Office.

       14.     The Trusted Traveler Programs Office (TTP) is the entity within

DHS/CBP/OFO/APP responsible for operation of Trusted Traveler Programs, including

determining membership eligibility, approving and denying membership applications, and

revoking existing memberships.




                                                  4
        Case 1:17-cv-00708-CRC Document 15-1 Filed 02/19/18 Page 5 of 70



        15.      A Trusted Traveler Program is a membership program operated by CBP that, for a

fee, provides pre-approved, low-risk travelers with expedited processing into the United States

through dedicated lanes and kiosks.

        16.      Global Entry is one type of Trusted Traveler Program. The operation of the

program is governed by federal regulation, 8 C.F.R. § 235.12. The program is open to eligible

U.S. citizens, U.S. nationals, U.S. lawful permanent residents (LPRs), and certain nonimmigrant

aliens from countries that have reciprocal arrangements with CBP. See id. § 235.12(b).

        17.      Between November 2016 and August 2017, a total of 14 OFO employees were

either assigned to TTP or had responsibilities involving TTP.

        18.      TTP utilizes a single database, known as the Global Enrollment System (GES), 3

to maintain information on applicants for admission to Trusted Traveler Programs and on

Trusted Traveler members. This information includes, among other things, information on why

a particular applicant was denied membership in a Trusted Traveler Program and information on

why an individual’s membership in a Trusted Traveler Program was subsequently revoked.

        19.      An individual whose application for membership in Global Entry is denied or an

individual whose Global Entry membership is revoked has three possible methods of redress as

described in 8 C.F.R. § 235.12(k).

        20.      One of the three options is to contest the denial or revocation by writing to the

CBP Trusted Traveler Ombudsman (OMB), submitting additional information if applicable, and

requesting reconsideration.




3
 Plaintiff’s FOIA request uses the acronym “GES” for “Global Entry System,” not to be confused with TTP’s use of
“GES” for its “Global Enrollment System,” which is the database used for all Trusted Traveler Programs.

                                                       5
       Case 1:17-cv-00708-CRC Document 15-1 Filed 02/19/18 Page 6 of 70



       21.     The OMB Office is an independent office within OFO, not within APP and not

associated with TTP, that may reconsider TTP’s decision to deny a Trusted Traveler Program

application or revoke a Trusted Traveler Program membership.

       22.     If OMB reconsiders a TTP decision, it will either sustain or reverse the decision,

and maintain a record of the decision, and the rationale behind that decision, in GES.

 III. CBP’s Trusted Traveler Programs, the Executive Orders, and the Presidential
      Proclamation

       23.     On January 27, 2017, President Trump issued Executive Order 13,769 (EO 1),

titled “Protecting the Nation from Foreign Terrorist Entry into the United States.”

       24.     On January 30, 2017, TTP began identifying and revoking Trusted Traveler

members, including Global Entry members who were lawful permanent residents of the United

States and citizens of one of the seven countries identified in EO 1.

       25.     On February 1, 2017, clarifying guidance was issued from the White House that

EO 1 did not apply to LPRs.

       26.     By February 2, 2017, TTP reinstated all Global Entry members whose

memberships were revoked as a result of EO 1.

       27.     Between November 9, 2016 and June 6, 2017 (the date records of Global Entry

membership revocations were pulled from GES for this request), the only (temporary) change to

the operation of Global Entry in terms of membership eligibility was as a result of EO 1.

       28.     On March 6, 2017 and September 24, 2017, respectively, President Trump issued

Executive Order 13,780 (EO 2) and the Presidential Proclamation Enhancing Vetting

Capabilities and Processes for Detecting Attempted Entry into the United States by Terrorists or

Other Public-Safety Threats. However, there were no changes to Trusted Traveler Programs as a

result of EO 2 or the Presidential Proclamation.

                                                   6
        Case 1:17-cv-00708-CRC Document 15-1 Filed 02/19/18 Page 7 of 70



   IV. CBP’s Search for Responsive Records

       29.     CBP’s FOIA Division is responsible for handling all FOIA requests received by

the agency. Broadly, the FOIA Division reviews FOIA requests, determines whether responsive

records exist, and, if so, whether they can be released in accordance with the FOIA. In

processing such requests, the FOIA Division consults with CBP personnel and, when

appropriate, with other components in DHS as well as other Executive Branch agencies.

       30.     The FOIA Division first determines which CBP offices are likely to possess

responsive information, and then works with those offices to gather any responsive records.

Assessments of where responsive records are likely to be maintained are based on a review of the

content of the request itself and the nature of the records sought, as well as the FOIA Division’s

familiarity with the types and location of records that each office maintains, and discussions with

knowledgeable agency personnel. Here, the FOIA Division concluded that the only reasonable

and likely sources for responsive records were CBP’s Trusted Traveler Program Office (TTP)

and the Office of the CBP Trusted Traveler Ombudsman (OMB), in light of their duties and

function as described above. Thus, TTP and OMB were directed to search for records

responsive to Plaintiff’s request.

       31.     Parts 1 and 2 of Plaintiff’s FOIA request asks for records related to Global Entry

“revocations, suspensions, or terminations.” TTP does not “suspend” Trusted Traveler

memberships. They are either revoked or terminated, although TTP uses the term “revoked.” A

Global Entry membership that is revoked can be subsequently reinstated. Accordingly, in

response to Parts 1 and 2 of Plaintiff’s FOIA request, TTP searched for records related to Global

Entry revocations.




                                                 7
       Case 1:17-cv-00708-CRC Document 15-1 Filed 02/19/18 Page 8 of 70



       32.     In response to Part 1 of Plaintiff’s FOIA request, TTP searched GES for all

records of individual Global Entry revocations from November 6, 2016 until June 6, 2017, the

date the records were pulled from the system. The responsive information was exported from

GES into a Microsoft Excel spreadsheet.

       33.     In response to Part 2 of Plaintiff’s FOIA request, TTP searched GES for the total

number of Global Entry revocations from FY 2012 (October 1, 2011) to FY 2017 (through

November 8, 2016). The responsive information was exported from GES into a Microsoft Excel

spreadsheet.

       34.     The OMB Office searched for records responsive to Part 3 of Plaintiff’s FOIA

request. Plaintiff did not indicate a timeframe associated with this particular request. However,

the OMB Office searched GES for records where the OMB sustained or reversed TTP’s decision

to revoke Global Entry memberships from November 9, 2016 until June 6, 2017 (which

corresponds with the dates records were pulled in response to Part 1 of Plaintiff’s FOIA

Request). The responsive information was exported from GES into two separate Microsoft

Excel spreadsheets.

       35.     Upon conferring with Plaintiff about the scope of its release in response to Parts 1

– 3 of Plaintiff’s FOIA request, CBP agreed to provide additional information to Plaintiff not

specifically included in the request. This included information on the data fields associated with

a Global Entry membership application and a raw data run of a GES record to give Plaintiff an

understanding of what the raw data looks like.

       36.     On August 11, 2017, CBP released records responsive to Parts 1 – 3 of Plaintiff’s

FOIA request, including the additional information described in paragraph 37, in Bates numbers




                                                 8
           Case 1:17-cv-00708-CRC Document 15-1 Filed 02/19/18 Page 9 of 70



EOFOIACBP0000000057, and EOFOIACBP0000000242-429. 4 See Exhibit F. On February 15,

2018, CBP released one additional record responsive to Part 3 of Plaintiff’s request, in Bates

number EOFOIACBP0000001508. See Exhibit J.

           37.      In response to Part 6 of Plaintiff’s FOIA request, TTP conducted a search of GES

for the time period from November 6, 2016 until June 6, 2017 for the keywords identified in Part

6 of Plaintiff’s FOIA Request. The keyword search did not identify any responsive records.

           38.      In addition to TTP searching GES for the keywords identified in Part 6 of

Plaintiff’s FOIA request, CBP’s Office of Information Technology (OIT) searched the emails of

the 14 TTP employees, 5 including the Director of TTP, 6 as well as the emails of five individuals

in CBP senior leadership positions: Acting Commissioner Kevin K. McAleenan, his Chief of

Staff Patrick Flanagan, Acting Deputy Commissioner Ronald Vitiello, Former Acting Deputy

Commissioner Randolph Alles, and Executive Assistant Commissioner of the Office of Field

Operations Todd C. Owen.

           39.      CBP’s OIT captures a copy of every e-mail message sent or received by all CBP

email users through a process called e-mail journaling. Through this process a copy of every

sent and received message is archived in another location so that a backup copy exists even if the

user deletes the e-mail from his or her mailbox. OIT designed its email search to pull all emails

sent or received, including “cc” and “bcc” emails, by the 19 individuals described above that




4
  CBP received numerous FOIA requests pertaining to Executive Orders 13,769 and 13,780. As the records
processed for one EO request were often responsive to multiple other FOIA requests, CBP chose to assign a single
set of Bates numbers to all records processed about these EOs. That is why the Bates numbers are not sequential.

5
  OIT searched the emails of the 14 OFO employees who were either assigned to TTP or had responsibilities in TTP
from November 2016 to August 2017.
6
    CBP has withheld the identity of the Director of TTP pursuant to 5 U.S.C. § 552(b)(6) and (b)(7)(C).


                                                           9
         Case 1:17-cv-00708-CRC Document 15-1 Filed 02/19/18 Page 10 of 70



contained the keywords identified in Part 6 of Plaintiff’s FOIA request. The time period

searched was November 9, 2016 until August 17, 2017 (the date the email search was run).

         40.   The emails OIT pulled were reviewed to identify emails that contained any of the

keywords and related to the operation or functioning of the Global Entry program. No emails

responsive to Part 6 of Plaintiff’s FOIA request were identified.

         41.   However, during the course of this review, CBP identified emails that were

responsive to Parts 4 and 5 of Plaintiff’s FOIA request. On October 6, 2017, CBP released these

48 pages of records in Bates numbers EOFOIACBP000000860-907. See Exhibit G.

         42.   Based on the information contained in the records released on October 6, 2017,

and conversations with the TTP Office, the FOIA Division determined that if there were any

additional records responsive to Parts 4 and 5 of Plaintiff’s FOIA request, those records could be

identified by pulling the emails of the Director of TTP during the relevant timeframe.

         43.   The Director of TTP would, at a minimum, be copied on any email involving a

decision made by CBP leadership involving a change of policy in the operation of the Global

Entry program and any guidance implementing such a change in policy. Any such policy change

or guidance would have been reflected in an email communication or in an attachment to an

email.

         44.   As discussed in paragraph 27, between November 9, 2016 and June 6, 2017 (the

date records of Global Entry membership revocations were pulled from GES), the only

(temporary) change to the operation of Global Entry in terms of membership eligibility was as a

result of EO 1, which was issued on January 27, 2017 and enjoined on February 3, 2017. Thus,

OIT pulled all emails sent or received by the Director of TTP, including “cc” and “bcc” emails,

from January 27, 2017 until February 4, 2017. This time frame was over-inclusive, as the only



                                                10
        Case 1:17-cv-00708-CRC Document 15-1 Filed 02/19/18 Page 11 of 70



known responsive communications in relation to a change in the operation of Global Entry after

November 9, 2016 occurred between January 30, 2017 and February 2, 2017. 7 However, this

over-inclusive time frame ensured CBP would capture any known responsive records to Parts 4

and 5 of Plaintiff’s FOIA request.

        45.      The Director of TTP’s emails were loaded into CBP’s document review platform

and reviewed to determine whether any were responsive to Parts 4 or 5 of Plaintiff’s FOIA

request. On December 14, 2017, CBP released 258 pages of responsive records, in Bates

numbers CBPBATES00004444-4701. See Exhibit H.

        46.      While reviewing the records that were ultimately produced on December 14,

2017, CBP identified two email chains, consisting of nine pages of records, which required

further review and consultation. In addition, 25 Microsoft Excel spreadsheets attached to the

emails released on December 14, 2017 needed to be processed.

        47.      On January 5, 2018, CBP released what it believed at the time would be the final

nine pages of responsive records and 25 Microsoft Excel spreadsheets, in their native format, in

response to Parts 4 and 5 of Plaintiff’s FOIA request, in Bates numbers CBPBATES00008495-

8528. See Exhibit I.

        48.      Following a review of its full production, CBP determined that a small number of

records contained information that was either withheld in error, inappropriately marked, or

required further redaction. Accordingly, CBP removed certain redactions, applied others,

appropriately labeled certain exemptions, and, on February 15, 2018, re-released Bates numbers

CBPBATES00004480-4483, 00004533, 00004561, 00004589, 00004595, 00004603, 00004623,



7
 While emails sent or received on February 6 and 7, 2017 were also produced to Plaintiff on October 6, 2017, these
emails pertain to other Trusted Traveler programs, not Global Entry.


                                                        11
        Case 1:17-cv-00708-CRC Document 15-1 Filed 02/19/18 Page 12 of 70



00004628, with the appropriate redactions and the suffix “_UR” at the end of each Bates number

to indicate that the records were being re-released with updated redactions. CBP also re-released

EOFOIACBP0000001458-1506 (previously released as EOFOIACBP0000000242-322) and

EOFOIACBP0000001507 (previously released as EOFOIACBP0000000323). Finally, CBP

released one additional record responsive to Part 3 of Plaintiff’s FOIA request, Bates number

EOFOIACBP0000001508, as discussed in paragraph 36 above. See Exhibit J.

        49.      Based on my experience in the FOIA Division, my discussions with

knowledgeable agency personnel, as well as my understanding of the scope of Plaintiff’s request,

and information gathered from the documents themselves, I aver that the searches described

herein were reasonably calculated to uncover all potentially responsive records and that all files

likely to contain relevant documents were searched.

   V.    CBP’s Withholdings Pursuant to FOIA Exemptions

        50.      CBP produced to Plaintiff, in total, 503 pages of non-exempt records, or non-

exempt portions of records, and 26 spreadsheets in native Microsoft Excel format. CBP withheld

material pursuant to FOIA Exemptions (b)(5), (b)(6), (b)(7)(C), and (b)(7)(E). These

withholdings are described in detail below.

              a. 5 U.S.C. § 552(b)(5): Deliberative materials

        51.      Exemption (b)(5) under the FOIA exempts from mandatory disclosure matters

that are “inter-agency and intra-agency memorandums or letters which would not be available by

law to a party other than an agency in litigation with the agency.” Exemption (b)(5)

encompasses both statutory privileges and those commonly recognized by case law. The

privileges incorporated into this exemption pertain to an agency’s decision-making process (i.e.,




                                                 12
       Case 1:17-cv-00708-CRC Document 15-1 Filed 02/19/18 Page 13 of 70



the deliberative-process privilege), the attorney work-product privilege, and the attorney-client

privilege.

       52.     CBP invoked Exemption (b)(5) based on the deliberative-process privilege in

instances when records contained drafts of documents or pre-decisional communications.

Specifically, the records redacted under Exemption (b)(5) were intra-agency email

communications containing draft language on the impact of EO1 on Trusted Traveler Programs,

and in five of the seven pages where Exemption (b)(5) was applied, the information involved

draft guidance for the public. The purpose of the deliberative-process privilege is to (1)

encourage open, frank discussions on matters of policy between subordinates and superiors; (2)

protect against premature disclosure of proposed policies before they are actually adopted; and

(3) protect against public confusion that might result from disclosure of reasons and rationales

that were not in fact ultimately the grounds for an agency's action. The privilege protects the

decision-making processes of government agencies and the integrity of the deliberative process

itself where the exposure of that process would result in harm.

       53.     Release of the materials withheld under Exemption 5, which are pre-decisional

and deliberative with respect to the impact of Executive Order 13,769 on Trusted Traveler

Programs, could reasonably be expected to have a chilling effect on the open and frank

expression of ideas, recommendations, and opinions that occurs when agency officials are

discussing and crafting guidance on a time-sensitive issue. Disclosure of this information would

also impede the ability of responsible government officials to formulate and carry out executive

branch programs by inhibiting candid internal discussion and the expression of recommendations

and judgments regarding a preferred course of action.




                                                13
       Case 1:17-cv-00708-CRC Document 15-1 Filed 02/19/18 Page 14 of 70



       54.      As identified in the attached Vaughn document index, CBP has applied

Exemption (b)(5) to portions of seven pages of records released to Plaintiff. See Exhibit K.

             b. 5 U.S.C. § 552(b)(6) and 5 U.S.C. § 552(b)(7)(C): Personally Identifiable
                Information (PII)

       55.      Exemption (b)(6) under the FOIA exempts from mandatory disclosure “personnel

and medical files and similar files the disclosure of which would constitute a clearly unwarranted

invasion of personal privacy.” This protection is afforded to information that would infringe on

the personal privacy of individuals about whom it pertains. The determination whether

disclosure “would constitute a clearly unwarranted invasion of personal privacy” involves a

balancing of the public’s right to know the information against the individual’s right to privacy.

       56.      Exemption (b)(7)(C) under the FOIA exempts from mandatory disclosure

“records or information compiled for law enforcement purposes” the disclosure of which “could

reasonably be expected to constitute an unwarranted invasion of personal privacy.” This

exemption protects, among other information, the identity of law enforcement personnel and

third parties referenced in files compiled for law enforcement purposes. The exemption is

intended to protect law enforcement personnel from harassment and annoyance in their private

lives due to the conduct of their official duties, which could conceivably result from public

disclosure of their identity. The exemption is also intended to protect third parties, whose

identities are revealed in law enforcement files, from comment, speculation and stigmatizing

connotation associated with being identified in a law enforcement record. In asserting this

exemption, each piece of information was scrutinized to determine the nature and strength of any

individual’s privacy interest. In withholding the information, the individual’s privacy interest is

balanced against the public’s interest in disclosure. In each instance, it was determined that

whatever public interest there might be, if any, in knowing the personal information of the

                                                14
       Case 1:17-cv-00708-CRC Document 15-1 Filed 02/19/18 Page 15 of 70



individuals identified in the relevant records did not outweigh the privacy interests of said

individuals.

       57.     CBP applied Exemptions (b)(6) and (b)(7)(C) in tandem, such that information

protected by one is also protected by the other. CBP applied Exemptions (b)(6) and (b)(7)(C) to

personally identifiable information of Trusted Traveler members, such as their names, phone

numbers, email addresses, dates of birth, and various identification numbers, including Trusted

Traveler member identification numbers, contained in GES records or agency email

communications. CBP also applied Exemptions (b)(6) and (b)(7)(C) to personally identifiable

information of certain CBP employees, such as their names, phones numbers, email addresses,

and work addresses, contained in agency email communications. CBP did not, however, apply

Exemptions (b)(6) and (b)(7)(C) as a categorical matter to all such information. For example,

CBP released names of senior officials whose identities are widely known among the public.

       58.     The individual’s right to have his or her identity withheld from disclosure clearly

outweighs the public interest, if any, in knowing the withheld information described in the

paragraph above. First, the identification of CBP officials in association with the performance of

their duties in an operational context risks unwarranted attribution and attention to the employee

beyond the confines of their job and into their personal life, and disclosing the identities of these

specific individuals would not meaningfully shed light on how the government performs its

duties. To reveal the withheld information would constitute a clearly unwarranted invasion of

personal privacy. With regard to third parties such as Trusted Traveler members, they likewise

have a privacy interest to be free of unwarranted attention, and releasing the identities of third

parties merely mentioned in agency records, without their authorization, would violate their

legitimate privacy interests. Whatever minimal interest the public could have in knowing the



                                                 15
          Case 1:17-cv-00708-CRC Document 15-1 Filed 02/19/18 Page 16 of 70



personally identifiable information of Trusted Traveler members does not outweigh the personal

privacy interests of these third parties. Revealing the withheld information would constitute a

clearly unwarranted invasion of personal privacy.

          59.      CBP has applied Exemptions (b)(6) and (b)(7)(C) in numerous instances across

all sets of records it has released. These particular withholdings are not reflected in the Vaughn

document index, but an example of the personally identifiable information redacted from a GES

revocation record and from an agency email communication is reflected in Exhibit L.

                c. 5 U.S.C. § 552(b)(7)(E): Records Or Information Compiled For Law
                   Enforcement Purposes

          60.      Exemption (b)(7)(E) under the FOIA exempts from mandatory disclosure

“records or information compiled for law enforcement purposes” that, if released, “would

disclose techniques and procedures for law enforcement investigations or prosecutions, or would

disclose guidelines for law enforcement investigations or prosecutions if such disclosure could

reasonably be expected to risk circumvention of the law.” CBP is constrained in describing the

techniques, procedures, and guidelines by its Exemption (b)(7)(E) withholdings, so as to avoid

revealing information CBP seeks to protect, which is not generally known to the public. The

discussion below thus aims to fairly represent the Exemption (b)(7)(E) withholdings but does not

purport to be an all-inclusive rendering of all withheld information.

          61.      To be eligible for withholding under Exemption (b)(7), records or information

must be compiled for law enforcement purposes. As articulated in paragraph 11 above, the

records at issue were compiled for law enforcement purposes in that the information is collected

and used by CBP in its mission to secure the borders and facilitate legitimate travel to the United

States.




                                                  16
        Case 1:17-cv-00708-CRC Document 15-1 Filed 02/19/18 Page 17 of 70



        62.      CBP invoked Exemption (b)(7)(E) to withhold the following types of information

compiled for law enforcement purposes:

        i. Internal comments on revocation records from the GES database – CBP withheld

        under Exemption (b)(7)(E) certain “internal comments” from Global Entry revocation

        records. 8 These records are contained in CBP’s GES database. The “internal comments”

        refer to the specific reasons why TTP revoked an individual’s Global Entry membership.

        CBP released the internal comments if the revocation was related to E.O. 13769. (As

        noted, a search in GES for the key words in Part 6 of Plaintiff’s FOIA request did not

        locate any responsive records.) CBP withheld the internal comments if the revocation

        was for any other reason besides E.O. 13769.

        ii. Ombudsman comments on revocation records from the GES database – CBP

        withheld under Exemption (b)(7)(E), as well as Exemptions (b)(6) and (b)(7)(c), certain

        “Ombudsman comments” from Global Entry revocation records. These records are

        contained in CBP’s GES database. The “Ombudsman comments” refer to the specific

        reasons why the OMB reversed or sustained a TTP decision to revoke an individual’s

        Global Entry membership (none of the reasons were related to E.O. 13769).

        Disclosure of the internal comments and Ombudsman comments, as described above,

        would permit individuals to identify the types of information CBP maintains for assessing

        risk and permit individuals to alter their patterns of conduct, adopt new methods of

        operation, relocate, change associations, or effectuate other countermeasures, thus,

        corrupting the integrity of CBP’s approach to risk assessment through ongoing



8
 In the revocation records, there are fields for both external comments and internal comments. The external
comments are provided to the Global Entry member at the time the membership is revoked. Internal comments,
however, are not generally released to the members.

                                                      17
Case 1:17-cv-00708-CRC Document 15-1 Filed 02/19/18 Page 18 of 70



techniques, operations, and investigations. Specifically, revealing the comments

described above would allow individuals to have better insight into what information

CBP has, and how that affects eligibility for Trusted Traveler membership, which could

reasonably support their efforts to circumvent the law.

iii. Information regarding CBP’s targeting process – CBP applied Exemption (b)(7)(E)

to information which relates to CBP’s process for assessing risk on travelers seeking to

enter the United States. This includes information regarding ongoing investigations or

investigative techniques and procedures. Disclosure of such information would advise

potential violators of CBP’s law enforcement techniques and procedures for assessing

risk, thereby enabling them to circumvent the law, avoid detection, and evade

apprehension. Moreover, revealing information regarding ongoing investigations would

thwart CBP’s current law enforcement efforts and risk individuals circumventing CBP’s

future efforts. Even commonly known techniques and procedures may be protected where

the circumstances of their usefulness are not widely known.

iv. Internal system codes – CBP withheld under Exemption (b)(7)(E) internal system

codes and information related to CBP system interfaces. Disclosure of such information

could be used to locate, access, and navigate internal law enforcement computer systems

or databases and risk compromising the integrity of GES and other CBP systems.

v. Internal email addresses of group list serves – CBP withheld under Exemption

(b)(7)(E) email addresses of group list serves which are not known to the public and only

used within the agency, because disclosure of that information would reveal the means by

which CBP communicates law enforcement information and could reasonably be

expected to risk compromising the integrity of those email communications.



                                        18
    Case 1:17-cv-00708-CRC Document 15-1 Filed 02/19/18 Page 19 of 70



         63.      As identified in the attached Vaughn document index, CBP has applied

Exemption (b)(7)(E) in numerous instances across many of the documents it has released. See

Exhibit K.

   VI.         Determination Regarding Segregability

         64.      All information CBP has withheld is exempt from disclosure pursuant to a FOIA

exemption or is not reasonably segregable, whether because it is so intertwined with protected

material that segregation is not possible, or its release would have revealed the underlying

protected material, or segregation is not required because the withheld material is attorney work

product. In responding to Plaintiff's requests in this case, CBP analysts and attorneys reviewed

each release of records line-by-line to confirm that any withholdings were proper, examined

whether any discretionary waiver of an exemption was warranted, and determined whether any

segregable, non-exempt information could further be released. All reasonably segregable

portions of the responsive records have been released to Plaintiff.


I declare under penalty of perjury that the foregoing is true and correct to the best of my

knowledge.


                  Executed this /fJ__ day of February, 2018.




                                                 ~
                                                 FOIA Division
                                                 Privacy and Diversity Office
                                                 Office of the Commissioner
                                                 U.S. Customs and Border Protection
                                                 U.S . Department of Homeland Security




                                                    19
Case 1:17-cv-00708-CRC Document 15-1 Filed 02/19/18 Page 20 of 70




         Exhibit A
       Case
        Case1:17-cv-00708-CRC
              1:17-cv-00708-CRCDocument
                                Document15-1
                                          2-1 Filed
                                              Filed02/19/18
                                                    04/18/17 Page
                                                             Page21
                                                                  2 of
                                                                    of770



	




                                                                		 	       	                             	
	



                                                                                                             	
	
                                             March	8,	2017	
	
Via	DHS-CBP	Online	FOIA	Request	Form	
	       To:		 U.S.	Customs	and	Border	Protection	
	       	        Freedom	of	Information	Act/Privacy	Act	Officer	
	
        Re:			 Request	under	Freedom	of	Information	Act	(FOIA)		
                 Expedited	Processing	Requested	
                 Fee	Waiver	&	Limitation	Requested	
                 	
Dear	FOIA-Privacy	Act	Officer:	
	
        On	behalf	of	our	client,	the	Arab-American	Anti-Discrimination	Committee	(“ADC”),	the	
Law	Office	of	R.	Andrew	Free	and	Siskind	Susser,	P.C.	hereby	respectfully	submit	this	Freedom	
of	Information	Act	(FOIA)	request	to	the	United	States	Customs	and	Border	Protection	agency	
(“CBP”),	 for	 agency	 records	 as	 defined	 by	 FOIA	 and	 as	 described	 below.	 ADC	 seeks	 expedited	
processing	 of	 this	 request	 and	 waiver	 of	 associated	 fees,	 or	 if	 not	 waiver,	 then	 limitation	 of	
associated	fees.	
        	
        A. Records	Requested	
    Specifically,	 ADC	 requests	 the	 following	 agency	 records	 created	 by	 or	 maintained	 in	 the	
possession,	custody,	or	control	of	CBP:		
    		
    (1) All	 agency	 records	 relating	 to	 each	 revocation,	 suspension,	 or	 termination	 of	 Global	
        Entry	 System	 (GES)	 participation	 from	 November	 9,	 2016	 to	 the	 date	 of	 the	 agency’s	
        response	to	this	request.		
    (2) All	agency	records	showing	the	annual	total	of	revocations,	suspensions,	or	terminations	
        of		(GES)	permissions	between	January	1,	2012	and	November	8,	2017.		
       Case
        Case1:17-cv-00708-CRC
              1:17-cv-00708-CRCDocument
                                Document15-1
                                          2-1 Filed
                                              Filed02/19/18
                                                    04/18/17 Page
                                                             Page22
                                                                  3 of
                                                                    of770
                                         																													US	Customs	&	Border	Protection	FOIA/PA	Officer	
                                               FOIA/PA	Request	for	Global	Entry	System	Revocation	Records	
                                                                                                      March	8,	2017	
                                                                                                         Page	2	of	6	
                                                                                                             	
    (3) All	agency	records	showing	reversal	or	confirmation	of	CBP’s	GES	revocation	decisions	
        by	the	CBP	Ombudsman’s	office.		
    (4) Any	agency	policy,	practice,	memorandum,	training,	guidance,	communication,	or	other	
        similar	 record	 created	 on	 or	 after	 November	 9,	 2017	 relating	 to	 the	 suspension,	
        revocation,	or	termination	of	GES.		
    (5) Any	 agency	 policy,	 practice,	 memorandum,	 training,	 communication	 or	 other	 similar	
        record	created	on	or	after	November	9,	2017	that	alters,	modifies,	or	in	any	way	affects	
        CBP’s	 prior	 practices	 and	 policies	 with	 respect	 to	 GES	 screening,	 investigation,	 or	
        revocation.	
    (6) Any	 agency	 records	 created	 on	 or	 after	 November	 9,	 2017	 relating	 to	 operation	 or	
        functioning	 of	 the	 GES	 program	 containing	 any	 of	 the	 following	 the	 words	 or	 phrases,	
        whether	 in	 their	 singular	 or	 plural	 forms:	 “Muslim”,	 “Arab”,	 “Ban”,	 “Muslim	 Ban”,	 or	
        “Travel	Ban”.	
        	
        B.		About	the	Requestor	
	 ADC	 is	 a	 civil	 rights	 organization	 committed	 to	 defending	 the	 rights	 of	 people	 of	 Arab	
descent	and	promoting	their	rich	cultural	heritage.	ADC	is	the	largest	Arab	American	grassroots	
organization	 in	 the	 United	 States.	 Founded	 in	 1980	 by	 former	 U.S.	 Senator	 James	 Abourzek,	
ADC’s	 objectives	 include	 combating	 stereotypes	 and	 discrimination	 against	 and	 affecting	 the	
Arab	American	community	in	the	United	States,	serving	as	a	public	voice	for	the	Arab	American	
community	 in	 the	 United	 States	 on	 domestic	 and	 foreign	 policy	 issues,	 and	 educating	 the	
American	 public	 in	 order	 to	 promote	 great	 understanding	 of	 Arab	 history	 and	 culture.	 	 	 ADC	
engages	 in	 wide-ranging	 advocacy,	 education,	 and	 organizing	 to	 defend	 and	 promote	 human	
rights	and	civil	liberties	of	Arab	Americans	and	other	persons	of	Arab	heritage.		
        	
        C.	About	the	Global	Entry	System		
	 The	 Global	 Entry	 System	 is	 a	 trusted	 traveler	 program	 administered	 by	 the	 United	 States	
Customs	and	Border	Protection	agency.		GES	“expedites	the	movement	of	low-risk	air	travelers	
into	 the	 United	 States	 by	 providing	 an	 alternate	 inspection	 process	 for	 pre-approved,	 pre-
screened	 travelers.”	 	 8	 C.F.R.	 §	 235.12(a)	 (2012).	 This	 system	 allows	 participants	 a	 faster	 and	
easier	entry	into	the	United	States	in	selected	airports	across	the	United	States.		Id.		Members	
enter	the	United	States	through	automatic	kiosks	at	select	airports.	
	
	 To	be	eligible,	applicants	for	the	program	must	meet	a	number	of	requirements	including	
status	as	a	United	States	citizen,	national,	or	legal	permanent	resident,	and	hold	a	valid	travel	
document,	among	a	few	other	requirements.		8	C.F.R.	235.12(b).		An	approved	participant	may	
be	 suspended	 or	 removed	 (revoked)	 from	 the	 program	 for	 reasons	 that	 are	 listed	 in	 the	
regulation,	the	most	broad	of	which	states	revocation	can	occur	if	“CBP,	at	its	sole	discretion,	




	                                                 	
              Case
               Case1:17-cv-00708-CRC
                     1:17-cv-00708-CRCDocument
                                       Document15-1
                                                 2-1 Filed
                                                     Filed02/19/18
                                                           04/18/17 Page
                                                                    Page23
                                                                         4 of
                                                                           of770
                                                                																													US	Customs	&	Border	Protection	FOIA/PA	Officer	
                                                                      FOIA/PA	Request	for	Global	Entry	System	Revocation	Records	
                                                                                                                             March	8,	2017	
                                                                                                                                Page	3	of	6	
                                                                                                          	
determines	that	such	action	is	otherwise	necessary.”		8	C.F.R.	235.12(j).	Historically,	less	than	
one	percent	of	GES	participants	were	subject	to	revocation.1			
        	
        D.	GES	Revocations	of	Arabs	and	Muslims	Following	the	2016	Presidential	Election	and	
        Acceleration	of	Reports	Coinciding	with	Muslim	Ban	1.0	
	 ADC	has	received	reports	that	immediately	following	the	presidential	election	in	November,	
persons	who	were	granted	access	to	the	GES	had	the	privilege	revoked	by	CBP.	These	are	not	
isolated	incidents,	it	appears,	but	rather,	part	of	a	larger	pattern	in	which	GES	participants	with	
Arab	or	Muslim	names	or	ancestry	have	been	singled	out	for	revocation	in	the	absence	of	any	
material	 change	 in	 their	 risk	 profile.	 Physicians,	 bankers,	 students,	 and	 businesspeople—all	
long-time	holders	of	GES	status—have	suddenly	and	inexplicably	faced	new	scrutiny.	The	vast	
majority	of	those	reporting	revocation	are	U.S.	citizens.	
	
        Beginning	in	late	January	2017,	in	the	wake	of	Presidential	Executive	Orders	regarding	
border	 security,	 immigration,	 and	 travel	 targeting	 legal	 immigrants,	 refugees,	 and	 Arab	 or	
Muslim	persons,	tens	of	thousands	of	people	across	the	country	actively	engaged	in	protest	and	
direct	action	in	airports	around	the	country.2	Pro	bono	attorneys	and	grassroots	organizations	
like	 ADC	 sprung	 into	 action	 to	 help	 arriving	 travelers	 avoid	 detention	 and	 banishment	 in	 the	
face	of	a	surprise,	sweeping	Presidential	order	limiting	many	individuals’	travel	into	the	United	




																																																													
1
 	Seth	Kugel,	Global	Entry	and	Company:	Worth	the	Price?,	Tʜᴇ	Nᴇᴡ	Yᴏʀᴋ	Tɪᴍᴇs	(April	24,	2014),	
https://www.nytimes.com/2014/04/24/travel/global-entry-and-company-worth-the-price.html	
(last	visited	at	Feb.	6,	2017).	
2
 	 	 Alan	 Taylor,	 A	 Weekend	 of	 Protest	 Against	 Trump’s	 Immigration	 Ban,	 Jan.	 30,	 2017,	
https://www.theatlantic.com/photo/2017/01/a-weekend-of-protest-against-trumps-
immigration-ban/514953/	 (last	 visited	 March	 7,	 2017);	 John	 Bacon	 and	 Alan	 Gomez,	 Protests	
Against	Trump’s	Immigration	Plan	Rolling	in	More	Than	30	cmities,	USA	Today,	Jan.	29,	2017,	
www.usatoday.com/story/news/nation/2017/01/29/homeland-security-judges-stay-has-little-
impact-travel-ban/97211720/	 (last	 visited	 March	 7,	 2017);	 Tens	 of	 Thousands	 in	 U.S.	 Cities	
Protest	       Trump	      Immigration	       Order,	      Fortune,	       Jan.	     29,	      2017,	
http://fortune.com/2017/01/29/trump-immigration-order-protests/	 (last	 visited	 March	 7,	
2017);	 Emanuella	 Grinberg	 and	 Madison	 Park,	 	 Second	 Day	 of	 Protests	 over	 Trump’s	
Immigration	 Policies,	 CNN,	 Jan.	 30,	 2017,	 http://www.cnn.com/2017/01/29/politics/us-
immigration-protests/	(last	visited	March	7,	2017).	


	                                                                        	
              Case
               Case1:17-cv-00708-CRC
                     1:17-cv-00708-CRCDocument
                                       Document15-1
                                                 2-1 Filed
                                                     Filed02/19/18
                                                           04/18/17 Page
                                                                    Page24
                                                                         5 of
                                                                           of770
                                                                																													US	Customs	&	Border	Protection	FOIA/PA	Officer	
                                                                      FOIA/PA	Request	for	Global	Entry	System	Revocation	Records	
                                                                                                                             March	8,	2017	
                                                                                                                                Page	4	of	6	
                                                                                                         	
States.3		Lawsuits	were	filed	from	coast	to	coast,	and	nearly	ever	court	to	rule	found	the	Muslim	
Ban	likely	violated	the	law.4		As	a	consequence,	the	Administration	abandoned	it.	
        	
	 The	President	issued	a	modified	Executive	Order	on	March	6,	2017—this	time	targeting	six	
Muslim-majority	 countries	 rather	 than	 seven5—“but	 the	 president’s	 revisions	 did	 little	 to	 halt	
criticism	from	Democrats	and	immigrant	rights	advocates,	who	predicted	a	renewed	fight	in	the	
courts.”6		
        		
	 ADC	 is	 aware	 of	 ongoing,	 public	 allegations	 of	 individuals	 being	 identified,	 selected,	
scrutinized,	 and	 treated	 inappropriately	 by	 employees	 and	 agencies	 of	 the	 federal	
government—and	 specifically	 CBP—because	 they	 are	 Arab	 or	 Muslim	 or	 are	 believed	 to	 be	
Arab	 or	 Muslim.7	 (Indeed,	 while	 campaigning	 for	 the	 presidency,	 the	 current	 U.S.	 President	
“called	for	‘a	total	and	complete	shutdown’	of	Muslim	immigration	to	the	US.”8)	For	example,	
complaints	 were	 filed	 with	 the	 CBP	 in	 January	 2017,	 alleging	 that	 Muslim	 Americans	 were	
unduly	 scrutinized	 and	 invasively	 questioned	 regarding	 their	 religious	 beliefs	 and	 political	
opinions.9		

																																																													
3
  	Jonah	Engel	Bromwich,	Lawyers	Mobilize	at	Nation’s	Airports	After	Trump’s	Order,	New	York	
Times,	 Jan.	 29,	 2017,	 www.nytimes.com/2017/01/29/us/lawyers-trump-muslim-ban-
immigration.html	(last	visited	March	7,	2017).	
4
  		Alexander	Burns,	Legal	Challenges	Mount	Against	Trump’s	Travel	Ban,	New	York	Times,	Jan.	
30,	 2017,	 https://www.nytimes.com/2017/01/30/us/legal-challenges-mount-against-trumps-
travel-ban.html	(last	visited	March	7,	2017).	
5
  	 Sabrina	 Siddiqui,	 Lauren	 Gambino,	 and	 Oliver	 Laughland,	 Trump	 Travel	 Ban:	 New	 Order	
Targeting	Six	Muslim-Majority	Countries	Signed,	The	Guardian,	March	6,	2017,		
https://www.theguardian.com/us-news/2017/mar/06/new-trump-travel-ban-muslim-majority-
countries-refugees	(last	visited	March	7,	2017).	
6
  		Glenn	Thrush,	Trump’s	New	Travel	Ban	Blocks	Migrants	from	Six	Nations,	Sparing	Iraq,	New	
York	 Times,	 Mar.	 6,	 2017,	 	 https://www.nytimes.com/2017/03/06/us/politics/travel-ban-
muslim-trump.html	(last	visited	March	7,	2017).	
7
  	Emma	Graham-Harrison,	U.S.	Border	Agents	Ask	Muhammad	Ali’s	Son:	‘Are	You	a	Muslim?’,	
The	         Guardian,	       Feb.	      25,	      2017,	      https://www.theguardian.com/us-
news/2017/feb/25/muhammad-ali-son-detained-questioned-us-border-control	 (last	 visited	
March	7,	2017).	
8
  	 Sabrina	 Siddiqui,	 Lauren	 Gambino,	 and	 Oliver	 Laughland,	 Trump	 Travel	 Ban:	 New	 Order	
Targeting	Six	Muslim-Majority	Countries	Signed,	The	Guardian,	March	6,	2017,		
https://www.theguardian.com/us-news/2017/mar/06/new-trump-travel-ban-muslim-majority-
countries-refugees	(last	visited	March	7,	2017).	
9
  	CAIR-Florida,	CAIR-FL	Files	10	Complaints	with	CBP	After	the	Agency	Targeted	and	Questioned	
American	 Muslims	 About	 Religious	 and	 Political	 Views,	 Jan.	 18,	 2017,	
https://www.cairflorida.org/newsroom/press-releases/720-cair-fl-files-10-complaints-with-cbp-


	                                                                        	
              Case
               Case1:17-cv-00708-CRC
                     1:17-cv-00708-CRCDocument
                                       Document15-1
                                                 2-1 Filed
                                                     Filed02/19/18
                                                           04/18/17 Page
                                                                    Page25
                                                                         6 of
                                                                           of770
                                                                          																													US	Customs	&	Border	Protection	FOIA/PA	Officer	
                                                                                FOIA/PA	Request	for	Global	Entry	System	Revocation	Records	
                                                                                                                                       March	8,	2017	
                                                                                                                                          Page	5	of	6	
                                                                                                        	
	
	 As	reported	in	multiple	news	outlets,	these	abuses	include	CBP’s	denial	or	revocation	of	GES	
privileges.10	 More	 generally,	 individuals	 who	 have	 GES	 membership	 are	 nonetheless	 being	
detained	 and	 questioned.	 For	 example,	 NASA	 employee	 Sidd	 Bikkannavar	 was	 “detained	 by	
[CBP]	 and	 pressured	 to	 give	 the	 CBP	 agents	 his	 phone	 and	 access	 PIN,”	 even	 though	 Mr.	
Bikkannavar	was	a	current	Global	Entry	member.11	
        	
	 Unsurprisingly,	 then,	 public	 interest	 is	 presently	 heightened	 regarding	 CBP’s	 multi-faceted	
operations,12	including	the	profiling	of	persons	based	on	religion,	ethnicity,	or	nationality,	the	
GES,13	and	CBP’s	access	and	use	of	travelers’	digital	information.14		
	
        E.	 ADC	 requests,	 and	 CBP	 should	 provide,	 expedited	 processing	 for	 this	 request,	
        pursuant	to	FOIA.	
    	ADC	 is	 primarily	 engaged	 in	 disseminating	 information15,	 as	 contemplated	 by	 FOIA,	
including	information	about	the	federal	government’s	activities.	As	explained	above,	ADC	also	
has	a	compelling	need	for	the	records	requested,	because	of	the	present,	genuine,	and	serious	
urgency	 to	 inform	 the	 public	 about	 the	 federal	 government’s	 activities	 which	 are	 referenced,	
documented,	 and	 explained	 in	 the	 records	 requested,	 such	 as	 activities	 regarding	 GES,	
																																																																																																																																																																																																				
after-the-agency-targeted-and-questioned-american-muslims-about-religious-and-political-
views.html	(last	visited	March	7,	2017).	
10
   	 Sarah	 Harvard,	 US	 Customs	 is	 Revoking	 Muslim	 American	 Travelers’	 Global	 Entry	 Cards,	
Lawyers	Say,	Mic.com,	Feb.	16,	2017,	https://mic.com/articles/168606/us-customs-is-revoking-
muslim-american-travelers-global-entry-cards-lawyers-say	(last	visited	March	7,	2017);	Andrew	
Sheivachman,	 Muslim-American	 Travelers	 are	 Quietly	 Having	 Global	 Entry	 Privileges	 Revoked,	
Skift,	 Feb.	 18,	 2017,	 https://skift.com/2017/02/18/muslim-american-travelers-are-quietly-
having-global-entry-privileges-revoked/	(last	visited	March	7,	2017).	
11
   	 Loren	 Grush,	 A	 US-Born	 NASA	 Scientist	 Was	 Detained	 at	 the	 Border	 Until	 He	 Unlocked	 His	
Phone,	 The	 Verge,	 Feb.	 12,	 2017,	 http://www.theverge.com/2017/2/12/14583124/nasa-sidd-
bikkannavar-detained-cbp-phone-search-trump-travel-ban,	(last	visited	March	7,	2017).	
12
   	 United	 States	 Customs	 and	 Border	 Protection	 (CBP)	 is	 an	 agency	 within	 the	 Department	 of	
Homeland	 Security.	 CBP	 is	 a	 “unified	 border	 entity”	 that	 addresses	 “customs,	 immigration,	
border	 security,	 and	 agricultural	 protection.”	 U.S.	 Customs	 and	 Border	 Protection,	
www.cbp.gov/about,	(last	visited	March	7,	2016).	
13
   	Lily	Herman,	Muslim	Travelers	Entering	the	U.S.	are	Having	Their	Global	Entry	Cards	Revoked,	
Teen	 Vogue,	 Feb.	 17,	 2017,	 http://www.teenvogue.com/story/muslim-travelers-entering-the-
us-are-having-their-global-entry-cards-revoked,	(last	visited	March	7,	2017).	
14
   	 Loren	 Grush,	 A	 US-Born	 NASA	 Scientist	 Was	 Detained	 at	 the	 Border	 Until	 He	 Unlocked	 His	
Phone,	 The	 Verge,	 Feb.	 12,	 2017,	 http://www.theverge.com/2017/2/12/14583124/nasa-sidd-
bikkannavar-detained-cbp-phone-search-trump-travel-ban,	(last	visited	March	7,	2017).	
15
   		See,	e.g.,	www.adc.org		


	                                                                                         	
         Case
          Case1:17-cv-00708-CRC
                1:17-cv-00708-CRCDocument
                                  Document15-1
                                            2-1 Filed
                                                Filed02/19/18
                                                      04/18/17 Page
                                                               Page26
                                                                    7 of
                                                                      of770
                                        																													US	Customs	&	Border	Protection	FOIA/PA	Officer	
                                              FOIA/PA	Request	for	Global	Entry	System	Revocation	Records	
                                                                                                     March	8,	2017	
                                                                                                        Page	6	of	6	
                                                                                                         	
individuals’	 and	 groups’	 travel	 privileges,	 statuses,	 and	 monitoring,	 and	 associated	 decision-
making,	record-keeping,	and	changes	in	practice	and	policy.	Simply	put,	ADC	plans	to	analyze,	
discuss,	and	disseminate	to	the	public--at	no	cost	to	the	public—the	information	obtained	by	
this	Request.	The	records	requested	are	not	sought	for	commercial	use.	
    	
        F.		ADC	is	entitled	to	a	waiver	of	fees	for	this	request,	or,	if	not	fully	waived,	then	a	
        limitation	on	fees	for	this	request,	pursuant	to	FOIA.	
	 ADC	requests	a	waiver	of	all	fees	associated	with	this	request	and	the	records	provided	in	
response,	because	disclosure	of	the	requested	records	and	information	contained	therein	is	in	
the	 public	 interest,	 and	 the	 disclosure	 is	 likely	 to	 contribute	 significantly	 to	 public	
understanding	 of	 the	 government’s	 operations	 and	 activities.	 Again,	 ADC	 does	 not	 seek	 the	
records	for	commercial	use,	and	will	disseminate	the	information	to	the	public	at	no	cost	to	the	
public.		Moreover,	ADC	qualifies	as	a	representative	of	the	news	media	based	on	its	information	
dissemination	activities.	Thus,	ADC	is	entitled	to	a	fee	waiver.		
	
	 Please	provide	all	records	in	their	native	format,	preserving	and	producing	any	associated	
metadata.		
	
	 If	you	have	any	questions	or	require	further	information,	please	do	not	hesitate	to	contact	
me	at	844-321-3221	or	Andrew@ImmigrantCivilRights.com		
	
	       I	AFFIRM	THAT	THE	INFORMATION	PROVIDED	SUPPORTING	THE	REQUEST	FOR	
EXPEDITED	PROCESSING	IS	TRUE	AND	CORRECT	TO	THE	BEST	OF	MY	KNOWLEDGE	AND	BELIEF.	

	

	        	      	       	       	       Very	truly	yours,		




	        	      	       	       	                                                                          	
	        	      	       	       	       R.	Andrew	Free	

	        	      	       	       	       Co-Counsel	for	ADC		

	   		




	                                                	
Case 1:17-cv-00708-CRC Document 15-1 Filed 02/19/18 Page 27 of 70




         Exhibit B
4/18/2017    Case
                Case
                   1:17-cv-00708-CRC    FOIA - Freedom
                     1:17-cv-00708-CRCDocument
                                       Document        of Information
                                                    15-1
                                                       2-2     FiledAct
                                                              Filed   02/19/18
                                                                       04/18/17 Page
                                                                                 Page28
                                                                                      2 of
                                                                                        of370
Request Details                                                          Tracking Number :  CBP‐2017‐037684

                                                                                                                                        

                                                 Submi ed                   Evalua on                 Assignment                  Processing
                                                                 
    Contact Information                            Closed
                                     Full Name : Mr.  Robert                                           Mailing Location : United
                                                 A. Free                                                                  States/U.S.
                                 Organization : Law Ofﬁce                      Territories
                                                of R.                                                     Address Line 1 : P.O. Box
    Andrew Free                                                                                                            90568
                  Email Address :                                                                         Address Line 2 :
    Andrew@ImmigrantCivilRights.com
                                                                                                                           City : Nashville
                              Phone Number : 844-321-
                                                                                                            State/Province : Tennessee
                                             3221
                                                                                                Zip Code/Postal Code : 37209
                                  Fax Number : 615-829-
                                               8959

    Request Information
                                         Agency : Perfected                                                 Request Phase : Assignment
                                                  non-traveler                                              Request Track : Simple
    requests
                                                                                                       Final Disposition :
                             Will Pay Up To : $250.00
                                                                               Undetermined
                             Date Submitted : 03/08/2017
       Estimated Date of Completion : 04/11/2017

 
Description :                                                                                                                              1383/2000
**See le er a ached for full descrip on. ** ADC requests the following agency records created by or 
maintained in the possession, custody, or control of CBP: (1) All agency records rela ng to each 
revoca on, suspension, or termina on of Global Entry System (GES) par cipa on from November 9, 
2016 to the date of the agency’s response to this request. (2) All agency records showing the annual 
total of revoca ons, suspensions, or termina ons of (GES) permissions between January 1, 2012 and 
November 8, 2017. (3) All agency records showing reversal or conﬁrma on of CBP’s GES revoca on 
 
    Request a Fee Waiver                                                           Request Expedited Handling
                              Made Request ? Yes                                                              Made Request ? Yes


https://foiaonline.regulations.gov/foia/action/registered/requestmod?requestId=0gIf-QfaOrVXuARU5DRbyAmp14n-IpXR&requestFunction=View              1/2
4/18/2017             Case
                       Case1:17-cv-00708-CRC    FOIA - Freedom
                             1:17-cv-00708-CRCDocument
                                               Document        of Information
                                                            15-1
                                                               2-2     FiledAct
                                                                      Filed   02/19/18
                                                                               04/18/17 Page
                                                                                        Page29
                                                                                             3 of
                                                                                               of370
    See a ached.                                                                  See a ached.




 
        Supporting Files
    Attached Files :
                                         A ached File                                                    Type                          Size (MB)

        2017.3.8 GES FOIA v.2.pdf                                                              PDF                            0.30

 
        Payments
    No payments to display.
     
 
        Invoice
    Total Amount Billed : $0.00
    Date Sent :
    No invoice has been added.

 
        Correspondence with Requester
                                                Subject                                                From                 Date                   Detail

        FOIA Request CBP-2017-037684 Submitted                                                                    2017-03-08

 
        Released Records
    No records have been released.
 




https://foiaonline.regulations.gov/foia/action/registered/requestmod?requestId=0gIf-QfaOrVXuARU5DRbyAmp14n-IpXR&requestFunction=View                        2/2
Case 1:17-cv-00708-CRC Document 15-1 Filed 02/19/18 Page 30 of 70




         Exhibit C
       Case
        Case1:17-cv-00708-CRC
              1:17-cv-00708-CRCDocument
                                Document15-1
                                          2-3 Filed
                                              Filed02/19/18
                                                    04/18/17 Page
                                                             Page31
                                                                  2 of
                                                                    of370



	




                                                            		 	       	                           	
	



                                                                                                       	
	
                                             March	9,	2017	
	
Via	DHS-CBP	Online	FOIA	Request	Form	
	
	       To:		 U.S.	Customs	and	Border	Protection	
	       	       Freedom	of	Information	Act/Privacy	Act	Officer	
	
        Re:			 CBP-2017-037684	
                CORRECTED	Request	under	Freedom	of	Information	Act	(FOIA)		
                	
Dear	FOIA-Privacy	Act	Officer:	
	
        This	request	is	intended	to	modify	and	correct	the	scope	of	records	requested	on	March	
8,	 2017,	 which	 the	 agency	 assigned	 CBP-2017-037684.	 It	 incorporates	 by	 reference	 all	
information	contained	in	the	request,	but	modifies	the	dates	for	which	records	are	requested,	
which	 inadvertently	 and	 mistakenly	 stated	 November	 9,	 2017—rather	 than	 November	 9,	
2016,	which	was	the	intended	timeframe.	As	corrected,	the	records	request	should	read:		
        	
        A. Records	Requested	
    Specifically,	 ADC	 requests	 the	 following	 agency	 records	 created	 by	 or	 maintained	 in	 the	
possession,	custody,	or	control	of	CBP:		
    		
    (1) All	 agency	 records	 relating	 to	 each	 revocation,	 suspension,	 or	 termination	 of	 Global	
        Entry	 System	 (GES)	 participation	 from	 November	 9,	 2016	 to	 the	 date	 of	 the	 agency’s	
        response	to	this	request.		
    (2) All	agency	records	showing	the	annual	total	of	revocations,	suspensions,	or	terminations	
        of		(GES)	permissions	between	January	1,	2012	and	November	8,	2016.		
    (3) All	agency	records	showing	reversal	or	confirmation	of	CBP’s	GES	revocation	decisions	
        by	the	CBP	Ombudsman’s	office.		
         Case
          Case1:17-cv-00708-CRC
                1:17-cv-00708-CRCDocument
                                  Document15-1
                                            2-3 Filed
                                                Filed02/19/18
                                                      04/18/17 Page
                                                               Page32
                                                                    3 of
                                                                      of370
                                        																													US	Customs	&	Border	Protection	FOIA/PA	Officer	
                                           Correction/Modification	to	FOIA/PA	Request	CBP-2017-037684	
                                                                                                      March	9	2017	
                                                                                                        Page	2	of	2	
                                                                                                         	
    (4) Any	agency	policy,	practice,	memorandum,	training,	guidance,	communication,	or	other	
        similar	 record	 created	 on	 or	 after	 November	 9,	 2016	 relating	 to	 the	 suspension,	
        revocation,	or	termination	of	GES.		
    (5) Any	 agency	 policy,	 practice,	 memorandum,	 training,	 communication	 or	 other	 similar	
        record	created	on	or	after	November	9,	2016	that	alters,	modifies,	or	in	any	way	affects	
        CBP’s	 prior	 practices	 and	 policies	 with	 respect	 to	 GES	 screening,	 investigation,	 or	
        revocation.	
    (6) Any	 agency	 records	 created	 on	 or	 after	 November	 9,	 2016	 relating	 to	 operation	 or	
        functioning	 of	 the	 GES	 program	 containing	 any	 of	 the	 following	 the	 words	 or	 phrases,	
        whether	 in	 their	 singular	 or	 plural	 forms:	 “Muslim”,	 “Arab”,	 “Ban”,	 “Muslim	 Ban”,	 or	
        “Travel	Ban”.	
	
	 Please	update	your	records	of	this	request	accordingly.		
	
	 If	you	have	any	questions	or	require	further	information,	please	do	not	hesitate	to	contact	
me	at	844-321-3221	or	Andrew@ImmigrantCivilRights.com		
	
	

	        	      	       	       	       Very	truly	yours,		




	        	      	       	       	                                                                          	
	        	      	       	       	       R.	Andrew	Free	

	        	      	       	       	       Co-Counsel	for	ADC		

	   		




	                                                	
Case 1:17-cv-00708-CRC Document 15-1 Filed 02/19/18 Page 33 of 70




         Exhibit D
4/18/2017    Case
                Case
                   1:17-cv-00708-CRC    FOIA - Freedom
                     1:17-cv-00708-CRCDocument
                                       Document        of Information
                                                    15-1
                                                       2-4     FiledAct
                                                              Filed   02/19/18
                                                                       04/18/17 Page
                                                                                 Page34
                                                                                      2 of
                                                                                        of370
Request Details                                                          Tracking Number :  CBP‐2017‐038185

                                                                                                                                        

                                                 Submi ed                   Evalua on                  Assignment                  Processing
                                                                  
    Contact Information                            Closed
                                     Full Name : Mr.  Robert                                            Mailing Location : United
                                                 A. Free                                                                   States/U.S.
                                 Organization : Law Ofﬁce                       Territories
                                                of R.                                                       Address Line 1 : P.O. Box
    Andrew Free                                                                                                              90568
                  Email Address :                                                                           Address Line 2 :
    Andrew@ImmigrantCivilRights.com
                                                                                                                            City : Nashville
                              Phone Number : 844-321-
                                                                                                             State/Province : Tennessee
                                             3221
                                                                                                 Zip Code/Postal Code : 37209
                                  Fax Number : 615-829-
                                               8959

    Request Information
                                         Agency : U.S.                                                       Request Phase : Assignment
                                                  Customs and                                                Request Track : Simple
    Border Protection
                                                                                                        Final Disposition :
                             Will Pay Up To : $250.00
                                                                                Undetermined
                             Date Submitted : 03/09/2017
       Estimated Date of Completion : 04/07/2017

 
Description :                                                                                                                              1465/2000
**See A ached Le ers** ‐ This Request modiﬁes and corrects the date limita ons set forth in CBP‐
2017‐037684 to reﬂect the requested  meframe of November 6, 2016, rather than 2017, for all 
relevant agency records speciﬁed. ADC Requests: (1) All agency records rela ng to each revoca on, 
suspension, or termina on of Global Entry System (GES) par cipa on from November 9, 2016 to the 
date of the agency’s response to this request. (2) All agency records showing the annual total of 
revoca ons, suspensions, or termina ons of (GES) permissions between January 1, 2012 and 
 
    Request a Fee Waiver                                                           Request Expedited Handling
                               Made Request ? Yes                                                              Made Request ? Yes


https://foiaonline.regulations.gov/foia/action/registered/requestmod?requestId=Lvez5kfaEAZ3c3qr6lDSrmjZVEggMbY5&requestFunction=View              1/2
4/18/2017             Case
                       Case1:17-cv-00708-CRC    FOIA - Freedom
                             1:17-cv-00708-CRCDocument
                                               Document        of Information
                                                            15-1
                                                               2-4     FiledAct
                                                                      Filed   02/19/18
                                                                               04/18/17 Page
                                                                                        Page35
                                                                                             3 of
                                                                                               of370
    See A ached Le er.                                                             See A ached Le er.




 
        Supporting Files
    Attached Files :
                                         A ached File                                                     Type                         Size (MB)

        2017.3.9 Modiﬁcation to GES FOIA.pdf                                                    PDF                            0.26
        2017.3.8 CBP FOIA Request Conﬁrmation.pdf                                               PDF                            0.09

 
        Payments
    No payments to display.
     
 
        Invoice
    Total Amount Billed : $0.00
    Date Sent :
    No invoice has been added.

 
        Correspondence with Requester
                                                Subject                                                 From                 Date                  Detail

        FOIA Request CBP-2017-038185 Submitted                                                                     2017-03-09

 
        Released Records
    No records have been released.
 




https://foiaonline.regulations.gov/foia/action/registered/requestmod?requestId=Lvez5kfaEAZ3c3qr6lDSrmjZVEggMbY5&requestFunction=View                        2/2
Case 1:17-cv-00708-CRC Document 15-1 Filed 02/19/18 Page 36 of 70




          Exhibit E
       Case Case
            1:17-cv-00708-CRC
                  1:17-cv-00708 Document 15-1
                                         1 Filed
                                               Filed
                                                  04/18/17
                                                     02/19/18
                                                            Page
                                                              Page
                                                                 1 of37
                                                                      7 of 70



                       UNITED STATES DISTRICT COURT
                           DISTRICT OF COLUMBIA

 AMERICAN-ARAB ANTI-              )
 DISCRIMINATION COMMITTEE,        )
 1705 DeSales St., NW, Suite 500, )
 Washington, D.C. 20036           )
                                  )
       Plaintiff,                 )
                                  )                   Civil Action No.: 1:17-cv-00708
 v.                               )
                                  )
 U.S. CUSTOMS AND BORDER          )
 PROTECTION,                      )
 1300 Pennsylvania Avenue NW,     )
 Washington, D.C. 20229           )
                                  )
       Defendant.


                COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF


                                    Introduction

   1. This is an action under the Freedom of Information Act (“FOIA” or “the Act”), 5

U.S.C. § 552, seeking unlawfully withheld agency records relating to actions taken by

Defendant U.S. Customs and Border Protection (“CBP”) to revoke, suspend, or

terminate participation in the Global Entry System (“GES” or “Global Entry”) for certain

Arab and Muslim U.S. Citizens and Lawful Permanent Residents (“LPRs”) without any

legal justification.

   2. Global Entry is a CBP trusted traveler program that allows expedited security

clearance and admission for pre-approved, low-risk travelers upon arrival in the United

States. Approved GES travelers enter the United States through automatic kiosks at

select airports and are normally exempted from the normal interview process.




                                           1
      Case Case
           1:17-cv-00708-CRC
                 1:17-cv-00708 Document 15-1
                                        1 Filed
                                              Filed
                                                 04/18/17
                                                    02/19/18
                                                           Page
                                                             Page
                                                                2 of38
                                                                     7 of 70



   3. Shortly after the November 2016 presidential election, and accelerating

significantly following the new administration’s rollout of its first attempt at a Muslim

travel ban, Plaintiff American-Arab Anti-Discrimination Council (“ADC”) began

receiving reports that Arabs and Muslims who were previously approved for GES had

these approvals inexplicably revoked by CBP.

   4. As documented by ADC, and subsequently, by several media outlets, these Global

Entry revocations were not isolated incidents. Rather, they are part of a wider pattern in

which GES-approved travelers with Arab or Muslim names or ancestry are singled out

for revocation in absence of any material change in circumstance or security risk.

   5. ADC documented cases of physicians, bankers, students, and businesspeople who

are long-time GES participants and who saw their approvals inexplicably and

simultaneously revoked.

   6. This pattern corresponded with the unexplained, heightened scrutiny—and in

many cases, abusive questioning by CBP officials—directed at Arab and Muslim

travelers in the wake of the new administration’s Muslim travel bans.

   7. In early March 2017, ADC filed FOIA requests with CBP seeking records

maintained by the agency in relation to Global Entry revocations, suspensions,

terminations, confirmations, and policy practices. Specifically, ADC sought:

          a. All agency records relating to each revocation, suspension, or
             termination of Global Entry System (GES) participation from
             November 9, 2016 to the date of the agency’s response to this
             request;

          b. All agency records showing the annual total of revocations,
             suspensions, or terminations of (GES) permissions between
             January 1, 2012 and November 8, 2016.

          c. All agency records showing reversal or confirmation of CBP’s GES
             revocation decisions by the CBP Ombudsman’s office;

                                            2
      Case Case
           1:17-cv-00708-CRC
                 1:17-cv-00708 Document 15-1
                                        1 Filed
                                              Filed
                                                 04/18/17
                                                    02/19/18
                                                           Page
                                                             Page
                                                                3 of39
                                                                     7 of 70




          d. Any agency policy, practice, memorandum, training, guidance,
             communication, or other similar record created on or after
             November 9, 2017 relating to the suspension, revocation, or
             termination of GES;

          e. Any     agency     policy,    practice, memorandum,        training,
             communication or other similar record created on or after
             November 9, 2016 that alters, modifies, or in any way affects CBP’s
             prior practices and policies with respect to GES screening,
             investigation, or revocation; and

          f. Any agency records created on or after November 9, 2016 relating
             to operation or functioning of the GES program containing any of
             the following the words or phrases, whether in their singular or
             plural forms: “Muslim”, “Arab”, “Ban”, “Muslim Ban”, or “Travel
             Ban.”

   8. ADC sought expedited processing of these requests, citing the urgent need to

inform the public about CBP’s actions in suspending, revoking, or terminating GES

authorization for Arabs and Muslims.

   9. CBP has failed to disclose the requested agency records within the time period

specified by Congress or offer any meaningful estimate of when these records will

become available.

   10. Accordingly, ADC seeks declaratory and injunctive relief under the Act to compel

DHS to search for and produce the records requested.

                               Jurisdiction and Venue

   11. This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C.

§ 1331 and 5 U.S.C. § 552(a)(4)(B). Jurisdiction lies to grant declaratory relief pursuant

to 28 U.S.C. §§ 2201-2202. Venue is proper under 5 U.S.C. § 552(a)(4)(B) because ADC

brings this action in the District of Columbia.




                                             3
      Case Case
           1:17-cv-00708-CRC
                 1:17-cv-00708 Document 15-1
                                        1 Filed
                                              Filed
                                                 04/18/17
                                                    02/19/18
                                                           Page
                                                             Page
                                                                4 of40
                                                                     7 of 70



                                           Parties

   12. Plaintiff ADC is a civil rights organization committed to defending the rights of

people of Arab descent and promoting their rich cultural heritage. ADC is the largest

American-Arab grassroots organization in the United States. Founded in 1980 by former

Senator James Abourzek, ADC’s objectives include combating stereotypes and

discrimination against and affecting the Arab American community in the United States,

serving as a public voice for the Arab American community in the United States on

domestic and foreign policy issues, and educating the American public in order to

promote greater understanding of Arab history and culture. ADC engages in wide-

ranging advocacy, education, and organizing to defend and promote human rights and

civil liberties of Arab Americans and other persons of Arab heritage.

   13. CBP is an executive agency of the United States government and is responsible

for administering the Global Entry program. CBP is an “agency “within the meaning of 5

U.S.C. § 552(f)(1).

   14. CBP has custody, possession and control over the records ADC seeks.

                      Plaintiff’s Requests and CBP Responses

   15. On March 8, 2017, ADC submitted the FOIA request attached hereto as Exhibit

A to CBP via the agency’s online FOIA portal.

   16. CBP acknowledged receipt of ADC’s request on or about March 8, 2017 and

assigned it Case Number CBP-2017-037684. Exhibit B.

   17. The agency categorized ADC’s request as a “perfected non-traveler” request and

assigned it to the Simple request track.

   18. On March 9, 2017, ADC submitted a follow-on request correcting and clarifying

the date ranges specified the March 8, 2017 request, attached as Exhibit C.

                                             4
      Case Case
           1:17-cv-00708-CRC
                 1:17-cv-00708 Document 15-1
                                        1 Filed
                                              Filed
                                                 04/18/17
                                                    02/19/18
                                                           Page
                                                             Page
                                                                5 of41
                                                                     7 of 70



   19. CBP acknowledged receipt of ADC’s request on or about March 9, 2017 and

assigned it Case Number CBP-2017-038185. Exhibit D.

   20. Since acknowledging receipt of Plaintiff’s requests, CBP has failed disclose

records in accordance with the timing limitations set forth by the FOIA

                                    Claims for Relief

 Count I: Violation of the FOIA - Improper Withholding of Agency Records

   21. All previous paragraphs are incorporated as though fully set forth herein.

   22. Plaintiff has a legal right under the FOIA to obtain agency records described in

the March 2017 requests assigned Case Numbers CBP-2017-038185 and CBP-2017-

037684.

   23. No legal basis exists for CBP’s failure to adequately search for and promptly

disclose responsive agency records in accordance with the timing and other

requirements of the Act.

   24. CBP’s failure to make timely, reasonable efforts to search for responsive agency

records, and its wrongful withholding of agency records sought in connection with

ADC’s requests violates the FOIA.

   25. CBP’s wrongful withholding of the agency records sought in connection with

ADC’s requests violates the FOIA. 5 U.S.C. §§ 552(a)(3)(A) and 552(a)(3)(C).

   26. CBP’s failure to timely respond to ADC’s requests has constructively exhausted

Plaintiff’s administrative remedies.

 Count II: Violation of the FOIA – Unlawful Denial of Expedited Processing

   27. All previous paragraphs are incorporated as though fully set forth herein.

   28. CBP violated the FOIA by constructively denying ADC’s expedited processing

request.

                                            5
      Case Case
           1:17-cv-00708-CRC
                 1:17-cv-00708 Document 15-1
                                        1 Filed
                                              Filed
                                                 04/18/17
                                                    02/19/18
                                                           Page
                                                             Page
                                                                6 of42
                                                                     7 of 70



   29. ADC is an organization primarily involved in the dissemination of information.

   30. There is an urgent need to inform the public of CBP’s documented actions in

suspending, revoking, or terminating Global Entry approvals for Arab and Muslim

travellers.

   31. ADC properly sought expedited processing of both FOIA requests.

   32. CBP has failed to process either request within ten (10) business days.

                                REQUEST FOR RELIEF

       WHEREFORE, Plaintiff requests that judgment enter in her favor and against

Defendant, and that the Court:

       A.     Order Defendant and any of Defendant’s agents or other persons,

departments, or components acting for, with, by, through, or under them, to conduct an

expedited, search for records responsive to Plaintiff’s requests under the FOIA;

       B.     Permanently enjoin and restrain Defendant and any of Defendant’s agents

or other persons, departments, or components acting for, with, by, through, or under

them from withholding the agency records at issue in this case;

       C.     Order Defendant to produce to Plaintiff on an expedited basis all agency

records which are responsive to Plaintiff’s requests and not exempt pursuant to FOIA;

       D.     Award Plaintiff reasonable attorneys’ fees and costs pursuant to 5 U.S.C. §

552(a)(4)(E); and,

       E.     Award all other relief to Plaintiff that the Court deems just, equitable, and

proper.

Date: April 18, 2017                        Respectfully submitted,

                                            /s/ R. Andrew Free
                                            R. ANDREW FREE, No. 30513
                                            P.O. Box 90568

                                             6
Case Case
     1:17-cv-00708-CRC
           1:17-cv-00708 Document 15-1
                                  1 Filed
                                        Filed
                                           04/18/17
                                              02/19/18
                                                     Page
                                                       Page
                                                          7 of43
                                                               7 of 70



                                 Nashville, TN 37209
                                 Tel. 844-321-3221
                                 Fax: 615-829-8959
                                 Andrew@immigrantcivilrights.com
                                 Co-Counsel for the Plaintiff


                                 /s/ Gregory H. Siskind*
                                 Siskind Susser, PC
                                 1028 Oakhaven Road
                                 Memphis, TN 38119
                                 Tel. 901-682-6455
                                 Fax. 901-339-9604
                                 gsiskind@visalaw.com
                                 C0-Counsel for the Plaintiff

                                 *Application for admission forthcoming




                                  7
Case 1:17-cv-00708-CRC Document 15-1 Filed 02/19/18 Page 44 of 70




          Exhibit F
       Case 1:17-cv-00708-CRC Document 15-1 Filed 02/19/18 Page 45 of 70




August 11, 2017


Robert A. Free
Law Office of R. Andrew Free
P.O. Box 90568
Nashville, TN 37209

Re:    CBP-2017-037684

Dear Mr. Free:

This is an initial partial response to your Freedom of Information Act (FOIA) request to U.S.
Customs and Border Protection (CBP), dated March 8, 2017, which seeks records from CBP
concerning the following:
   1. All agency records relating to each revocation, suspension, or termination of Global
        Entry System (GES) participation from November 9, 2016 to the date of the agency’s
        response to this request.
   2. All agency records showing the annual total of revocations, suspensions, or terminations
        of (GES) permissions between January 1, 2012 and November 8, 2017.
   3. All agency records showing reversal or confirmation of CBP’s GES revocation decisions
        by the CBP Ombudsman’s office.
   4. Any agency policy, practice, memorandum, training, guidance, communication, or other
        similar record created on or after November 9, 2017 relating to the suspension,
        revocation, or termination of GES.
   5. Any agency policy, practice, memorandum, training, communication or other similar
        record created on or after November 9, 2017 that alters, modifies, or in any way affects
        CBP’s prior practices and policies with respect to GES screening, investigation, or
        revocation.
   6. Any agency records created on or after November 9, 2017 relating to operation or
        functioning of the GES program containing any of the following the words or phrases,
        whether in their singular or plural forms: “Muslim”, “Arab”, “Ban”, “Muslim Ban”, or
        “Travel Ban”.

The records included in this response have been deemed responsive to your request.

This release includes a total of 189 pages of records responsive to your clients’ request, marked
as EO FOIA CBP 0000000057, and 0000000242-0000000449. CBP has determined that 189
pages of the records are partially released, pursuant to Title 5 U.S.C. § 552 (b)(6), (b)(7)(C) and
(b)(7)(E).

Exemption (b)(6) exempts from disclosure personnel or medical files and similar files the
release of which would cause a clearly unwarranted invasion of personal privacy. This requires a
balancing of the public’s right to disclosure against the individual’s right privacy. The types of
documents and/or information that we have withheld may consist of birth certificates,
naturalization certificates, driver license, social security numbers, home addresses, dates of birth,
       Case 1:17-cv-00708-CRC Document 15-1 Filed 02/19/18 Page 46 of 70




or various other documents and/or information belonging to a third party that are considered
personal. The privacy interests of the individuals in the records you have requested outweigh
any minimal public interest in disclosure of the information. Any private interest you may have
in that information does not factor into the aforementioned balancing test.

Exemption (b)(7)(C) protects records or information compiled for law enforcement purposes
that could reasonably be expected to constitute an unwarranted invasion of personal privacy.
This exemption takes particular note of the strong interests of individuals, whether they are
suspects, witnesses, or investigators, in not being unwarrantably associated with alleged criminal
activity. That interest extends to persons who are not only the subjects of the investigation, but
those who may have their privacy invaded by having their identities and information about them
revealed in connection with an investigation. Based upon the traditional recognition of strong
privacy interest in law enforcement records, categorical withholding of information that
identifies third parties in law enforcement records is ordinarily appropriate.

Exemption (b)(7)(E) protects records compiled for law enforcement purposes, the release of
which would disclose techniques and/or procedures for law enforcement investigations or
prosecutions, or would disclose guidelines for law enforcement investigations or prosecutions if
such disclosure could reasonably be expected to risk circumvention of the law.

As this matter is currently in litigation, if you need further assistance or would like to discuss any
aspect of this response, please contact XXXXXXXX, Trial Attorney, Department of Justice, Civil
Division, Federal Programs Branch.

Sincerely,




Patrick Howard
Branch Chief
U.S. Customs and Border Protection, FOIA Division
Privacy and Diversity Office

Enclosure(s)
Case 1:17-cv-00708-CRC Document 15-1 Filed 02/19/18 Page 47 of 70




         Exhibit G
       Case 1:17-cv-00708-CRC Document 15-1 Filed 02/19/18 Page 48 of 70




October 6, 2017


Robert A. Free
Law Office of R. Andrew Free
P.O. Box 90568
Nashville, TN 37209

Re:    CBP-2017-037684

Dear Mr. Free:

This is a response to your Freedom of Information Act (FOIA) request to U.S. Customs and
Border Protection (CBP), dated March 8, 2017, which seeks records from CBP concerning the
following:
    1. All agency records relating to each revocation, suspension, or termination of Global
        Entry System (GES) participation from November 9, 2016 to the date of the agency’s
        response to this request.
    2. All agency records showing the annual total of revocations, suspensions, or terminations
        of (GES) permissions between January 1, 2012 and November 8, 2017.
    3. All agency records showing reversal or confirmation of CBP’s GES revocation decisions
        by the CBP Ombudsman’s office.
    4. Any agency policy, practice, memorandum, training, guidance, communication, or other
        similar record created on or after November 9, 2017 relating to the suspension,
        revocation, or termination of GES.
    5. Any agency policy, practice, memorandum, training, communication or other similar
        record created on or after November 9, 2017 that alters, modifies, or in any way affects
        CBP’s prior practices and policies with respect to GES screening, investigation, or
        revocation.
    6. Any agency records created on or after November 9, 2017 relating to operation or
        functioning of the GES program containing any of the following the words or phrases,
        whether in their singular or plural forms: “Muslim”, “Arab”, “Ban”, “Muslim Ban”, or
        “Travel Ban”.

The records included in this response have been deemed responsive to your request.

This release includes a total of 47 pages of records responsive to your clients’ request, marked as
EO FOIA CBP 0000000860-0000000890 and 0000000891-0000000907. CBP has determined
that 46 pages of the records are partially released, pursuant to Title 5 U.S.C. § 552 (b)(6),
(b)(7)(C) and (b)(7)(e) and one page is withheld in full pursuant to (b)(6) and (b)(7)(c).

Exemption (b)(6) exempts from disclosure personnel or medical files and similar files the
release of which would cause a clearly unwarranted invasion of personal privacy. This requires a
balancing of the public’s right to disclosure against the individual’s right privacy. The types of
documents and/or information that we have withheld may consist of birth certificates,
naturalization certificates, driver license, social security numbers, home addresses, dates of birth,
       Case 1:17-cv-00708-CRC Document 15-1 Filed 02/19/18 Page 49 of 70




or various other documents and/or information belonging to a third party that are considered
personal. The privacy interests of the individuals in the records you have requested outweigh
any minimal public interest in disclosure of the information. Any private interest you may have
in that information does not factor into the aforementioned balancing test.

Exemption (b)(7)(C) protects records or information compiled for law enforcement purposes
that could reasonably be expected to constitute an unwarranted invasion of personal privacy.
This exemption takes particular note of the strong interests of individuals, whether they are
suspects, witnesses, or investigators, in not being unwarrantably associated with alleged criminal
activity. That interest extends to persons who are not only the subjects of the investigation, but
those who may have their privacy invaded by having their identities and information about them
revealed in connection with an investigation. Based upon the traditional recognition of strong
privacy interest in law enforcement records, categorical withholding of information that
identifies third parties in law enforcement records is ordinarily appropriate.

Exemption (b)(7)(E) protects records compiled for law enforcement purposes, the release of
which would disclose techniques and/or procedures for law enforcement investigations or
prosecutions, or would disclose guidelines for law enforcement investigations or prosecutions if
such disclosure could reasonably be expected to risk circumvention of the law.

As this matter is currently in litigation, if you need further assistance or would like to discuss any
aspect of this response, please contact Kari D’Ottavio, Trial Attorney, Department of Justice,
Civil Division, Federal Programs Branch.

Sincerely,




Patrick Howard
Branch Chief
U.S. Customs and Border Protection, FOIA Division
Privacy and Diversity Office

Enclosure(s)
Case 1:17-cv-00708-CRC Document 15-1 Filed 02/19/18 Page 50 of 70




         Exhibit H
       Case 1:17-cv-00708-CRC Document 15-1 Filed 02/19/18 Page 51 of 70




December 14, 2017


Robert A. Free
Law Office of R. Andrew Free
P.O. Box 90568
Nashville, TN 37209

Re:    CBP-2017-037684

Dear Mr. Free:

This is a second partial response to your Freedom of Information Act (FOIA) request to U.S.
Customs and Border Protection (CBP), dated March 8, 2017, which seeks records from CBP
concerning the following:
   1. All agency records relating to each revocation, suspension, or termination of Global
        Entry System (GES) participation from November 9, 2016 to the date of the agency’s
        response to this request.
   2. All agency records showing the annual total of revocations, suspensions, or terminations
        of (GES) permissions between January 1, 2012 and November 8, 2017.
   3. All agency records showing reversal or confirmation of CBP’s GES revocation decisions
        by the CBP Ombudsman’s office.
   4. Any agency policy, practice, memorandum, training, guidance, communication, or other
        similar record created on or after November 9, 2017 relating to the suspension,
        revocation, or termination of GES.
   5. Any agency policy, practice, memorandum, training, communication or other similar
        record created on or after November 9, 2017 that alters, modifies, or in any way affects
        CBP’s prior practices and policies with respect to GES screening, investigation, or
        revocation.
   6. Any agency records created on or after November 9, 2017 relating to operation or
        functioning of the GES program containing any of the following the words or phrases,
        whether in their singular or plural forms: “Muslim”, “Arab”, “Ban”, “Muslim Ban”, or
        “Travel Ban”.

The records included in this response have been deemed responsive to your request.

This release includes a total of 258 pages of records responsive to your clients’ request, marked
as CBPBATES00004444 through CBPBATES00004701. CBP has determined that 258 pages of
the records are withheld in part or in full, pursuant to Title 5 U.S.C. § 552 (b)(5), (b)(6),
(b)(7)(C) and (b)(7)(E).

FOIA Exemption 5 protects from disclosure those inter- or intra-agency documents that are
normally privileged in the civil discovery context. The three most frequently invoked privileges
are the deliberative process privilege, the attorney work-product privilege, and the attorney-client
privilege.
       Case 1:17-cv-00708-CRC Document 15-1 Filed 02/19/18 Page 52 of 70




•       Deliberative Process Privilege
The deliberative process privilege protects the integrity of the deliberative or decision-making
processes within the agency by exempting from mandatory disclosure opinions, conclusions, and
recommendations included within inter- or intra-agency memoranda or letters. The release of this
internal information would discourage the expression of candid opinions and inhibit the free and
frank exchange of information among agency personnel.

•      Attorney Work-Product Privilege
The attorney-work product privilege protects documents and other memoranda prepared by an
attorney in contemplation of litigation.

•       Attorney-Client Privilege
The attorney-client privilege protects confidential communications between an attorney and his
client relating to a legal matter for which the client has sought professional advice. It applies to
facts divulged by a client to his attorney, and encompasses any opinions given by an attorney to
his client based upon, and thus reflecting those facts, as well as communications between
attorneys that reflect client-supplied information. The attorney-client privilege is not limited to
the context of litigation.

Exemption (b)(6) exempts from disclosure personnel or medical files and similar files the
release of which would cause a clearly unwarranted invasion of personal privacy. This requires a
balancing of the public’s right to disclosure against the individual’s right privacy. The types of
documents and/or information that we have withheld may consist of birth certificates,
naturalization certificates, driver license, social security numbers, home addresses, dates of birth,
or various other documents and/or information belonging to a third party that are considered
personal. The privacy interests of the individuals in the records you have requested outweigh
any minimal public interest in disclosure of the information. Any private interest you may have
in that information does not factor into the aforementioned balancing test.

Exemption (b)(7)(C) protects records or information compiled for law enforcement purposes
that could reasonably be expected to constitute an unwarranted invasion of personal privacy.
This exemption takes particular note of the strong interests of individuals, whether they are
suspects, witnesses, or investigators, in not being unwarrantably associated with alleged criminal
activity. That interest extends to persons who are not only the subjects of the investigation, but
those who may have their privacy invaded by having their identities and information about them
revealed in connection with an investigation. Based upon the traditional recognition of strong
privacy interest in law enforcement records, categorical withholding of information that
identifies third parties in law enforcement records is ordinarily appropriate.

Exemption (b)(7)(E) protects records compiled for law enforcement purposes, the release of
which would disclose techniques and/or procedures for law enforcement investigations or
prosecutions, or would disclose guidelines for law enforcement investigations or prosecutions if
such disclosure could reasonably be expected to risk circumvention of the law.
       Case 1:17-cv-00708-CRC Document 15-1 Filed 02/19/18 Page 53 of 70




As this matter is currently in litigation, if you need further assistance or would like to discuss any
aspect of this response, please contact Kari D’Ottavio, Trial Attorney, Department of Justice,
Civil Division, Federal Programs Branch.

Sincerely,




Patrick Howard
Branch Chief
U.S. Customs and Border Protection, FOIA Division
Privacy and Diversity Office

Enclosure(s)
Case 1:17-cv-00708-CRC Document 15-1 Filed 02/19/18 Page 54 of 70




           Exhibit I
         Case 1:17-cv-00708-CRC Document 15-1 Filed 02/19/18 Page 55 of 70




January 5, 2018


Robert A. Free
Law Office of R. Andrew Free
P.O. Box 90568
Nashville, TN 37209

Re:      CBP-2017-037684

Dear Mr. Free:

This is a final response to your Freedom of Information Act (FOIA) request to U.S. Customs and
Border Protection (CBP), dated March 8, 2017, which seeks records from CBP concerning the
following:

      1. All agency records relating to each revocation, suspension, or termination of Global
         Entry System (GES) participation from November 9, 2016 to the date of the agency’s
         response to this request.
      2. All agency records showing the annual total of revocations, suspensions, or terminations
         of (GES) permissions between January 1, 2012 and November 8, 2017.
      3. All agency records showing reversal or confirmation of CBP’s GES revocation decisions
         by the CBP Ombudsman’s office.
      4. Any agency policy, practice, memorandum, training, guidance, communication, or other
         similar record created on or after November 9, 2017 relating to the suspension,
         revocation, or termination of GES.
      5. Any agency policy, practice, memorandum, training, communication or other similar
         record created on or after November 9, 2017 that alters, modifies, or in any way affects
         CBP’s prior practices and policies with respect to GES screening, investigation, or
         revocation.
      6. Any agency records created on or after November 9, 2017 relating to operation or
         functioning of the GES program containing any of the following the words or phrases,
         whether in their singular or plural forms: “Muslim”, “Arab”, “Ban”, “Muslim Ban”, or
         “Travel Ban”.

The records included in this response have been deemed responsive to your request.

This release includes a total of 9 pages of records and 25 native excel spreadsheets responsive to
your clients’ request, marked as CBPBATES 00008495 – CBPBATES 00008528. CBP has
determined that 9 pages of records and 25 native excel spreadsheets are partially released,
pursuant to Title 5 U.S.C. § 552 (b)(6), (b)(7)(C) and (b)(7)(E).

Exemption (b)(6) exempts from disclosure personnel or medical files and similar files the
release of which would cause a clearly unwarranted invasion of personal privacy. This requires a
balancing of the public’s right to disclosure against the individual’s right privacy. The types of
documents and/or information that we have withheld may consist of birth certificates,
       Case 1:17-cv-00708-CRC Document 15-1 Filed 02/19/18 Page 56 of 70




naturalization certificates, driver license, social security numbers, home addresses, dates of birth,
or various other documents and/or information belonging to a third party that are considered
personal. The privacy interests of the individuals in the records you have requested outweigh
any minimal public interest in disclosure of the information. Any private interest you may have
in that information does not factor into the aforementioned balancing test.

Exemption (b)(7)(C) protects records or information compiled for law enforcement purposes
that could reasonably be expected to constitute an unwarranted invasion of personal privacy.
This exemption takes particular note of the strong interests of individuals, whether they are
suspects, witnesses, or investigators, in not being unwarrantably associated with alleged criminal
activity. That interest extends to persons who are not only the subjects of the investigation, but
those who may have their privacy invaded by having their identities and information about them
revealed in connection with an investigation. Based upon the traditional recognition of strong
privacy interest in law enforcement records, categorical withholding of information that
identifies third parties in law enforcement records is ordinarily appropriate.

Exemption (b)(7)(E) protects records compiled for law enforcement purposes, the release of
which would disclose techniques and/or procedures for law enforcement investigations or
prosecutions, or would disclose guidelines for law enforcement investigations or prosecutions if
such disclosure could reasonably be expected to risk circumvention of the law.

As this matter is currently in litigation, if you need further assistance or would like to discuss any
aspect of this response, please contact Kari D’Ottavio, Trial Attorney, at
kari.e.d’ottavio@usdoj.gov or (202) 305-0568. Please refer to case number, CBP-2017-037684,
as well as the civil litigation number, 17-cv-00708, in all correspondence about this case.

Sincerely,




Patrick Howard
Branch Chief
U.S. Customs and Border Protection, FOIA Division
Privacy and Diversity Office

Enclosure(s)
Case 1:17-cv-00708-CRC Document 15-1 Filed 02/19/18 Page 57 of 70




           Exhibit J
         Case 1:17-cv-00708-CRC Document 15-1 Filed 02/19/18 Page 58 of 70




February 15, 2018


Robert A. Free
Law Office of R. Andrew Free
P.O. Box 90568
Nashville, TN 37209

Re:      CBP-2017-037684

Dear Mr. Free:

This is an updated final response to your Freedom of Information Act (FOIA) request to U.S.
Customs and Border Protection (CBP), dated March 8, 2017, which seeks records from CBP
concerning the following:

      1. All agency records relating to each revocation, suspension, or termination of Global
         Entry System (GES) participation from November 9, 2016 to the date of the agency’s
         response to this request.
      2. All agency records showing the annual total of revocations, suspensions, or terminations
         of (GES) permissions between January 1, 2012 and November 8, 2017.
      3. All agency records showing reversal or confirmation of CBP’s GES revocation decisions
         by the CBP Ombudsman’s office.
      4. Any agency policy, practice, memorandum, training, guidance, communication, or other
         similar record created on or after November 9, 2017 relating to the suspension,
         revocation, or termination of GES.
      5. Any agency policy, practice, memorandum, training, communication or other similar
         record created on or after November 9, 2017 that alters, modifies, or in any way affects
         CBP’s prior practices and policies with respect to GES screening, investigation, or
         revocation.
      6. Any agency records created on or after November 9, 2017 relating to operation or
         functioning of the GES program containing any of the following the words or phrases,
         whether in their singular or plural forms: “Muslim”, “Arab”, “Ban”, “Muslim Ban”, or
         “Travel Ban”.

The records included in this response have been deemed responsive to your request.

This release includes a total of 61 pages of records which are being re-released with updated
redactions, and one native excel spreadsheet, which is being released for the first time. The
records are being partially released pursuant to Title 5 U.S.C. § 552 (b)(6), (b)(7)(C) and
(b)(7)(E) as follows:
       Case 1:17-cv-00708-CRC Document 15-1 Filed 02/19/18 Page 59 of 70




CBPBATES00004480-00004483_UR, CBPBATES00004533_UR, CBPBATES00004561_UR,
CBPBATES00004589_UR, CBPBATES00004595_UR, CBPBATES00004603_UR,
CBPBATES00004623_UR, CBPBATES00004628_UR were previously released and are being
re-released under the same Bates number with an updated suffix “UR” to indicate that the
documents are being re-released with updated redactions.

EOFOIACBP0000001458 – 0000001506 is being re-released with updated redactions. It was
previously released as EOFOIACBP0000000242-0000000322.

EOFOIACBP0000001507 is being re-released with updated redactions. It was previously
released as EOFOIACBP0000000323.

EOFOIACBP0000001508 is the only new release.

Exemption (b)(6) exempts from disclosure personnel or medical files and similar files the
release of which would cause a clearly unwarranted invasion of personal privacy. This requires a
balancing of the public’s right to disclosure against the individual’s right privacy. The types of
documents and/or information that we have withheld may consist of birth certificates,
naturalization certificates, driver license, social security numbers, home addresses, dates of birth,
or various other documents and/or information belonging to a third party that are considered
personal. The privacy interests of the individuals in the records you have requested outweigh
any minimal public interest in disclosure of the information. Any private interest you may have
in that information does not factor into the aforementioned balancing test.

Exemption (b)(7)(C) protects records or information compiled for law enforcement purposes
that could reasonably be expected to constitute an unwarranted invasion of personal privacy.
This exemption takes particular note of the strong interests of individuals, whether they are
suspects, witnesses, or investigators, in not being unwarrantably associated with alleged criminal
activity. That interest extends to persons who are not only the subjects of the investigation, but
those who may have their privacy invaded by having their identities and information about them
revealed in connection with an investigation. Based upon the traditional recognition of strong
privacy interest in law enforcement records, categorical withholding of information that
identifies third parties in law enforcement records is ordinarily appropriate.

Exemption (b)(7)(E) protects records compiled for law enforcement purposes, the release of
which would disclose techniques and/or procedures for law enforcement investigations or
prosecutions, or would disclose guidelines for law enforcement investigations or prosecutions if
such disclosure could reasonably be expected to risk circumvention of the law.

As this matter is currently in litigation, if you need further assistance or would like to discuss any
aspect of this response, please contact Kari D’Ottavio, Trial Attorney, Department of Justice,
Civil Division, Federal Programs Branch.
      Case 1:17-cv-00708-CRC Document 15-1 Filed 02/19/18 Page 60 of 70




Sincerely,




Patrick Howard
Branch Chief
U.S. Customs and Border Protection, FOIA Division
Privacy and Diversity Office

Enclosure(s)
Case 1:17-cv-00708-CRC Document 15-1 Filed 02/19/18 Page 61 of 70




         Exhibit K
                            Case 1:17-cv-00708-CRC Document 15-1 Filed 02/19/18 Page 62 of 70
U.S. Customs and Border Protection | Vaughn Document Index for Exemptions (b)(5) and (b)(7)(E)
American-Arab Anti-Discrimination Committee v. U.S. Customs and Border Protection, No. 1:17-cv-00708-CRC (D.D.C.)

 Bates Range                             Exemption             Description of Material Withheld & Exemptions
 CBPBATES00004446,                       (b)(5)                Portions of the records listed at left are exempt from disclosure under FOIA
 00004572, 00004573, 00004637,                                 exemption b(5).
 00004668, 00004672, 00004675
                                                               CBP withheld under Exemption (b)(5) draft documents or draft
                                                               communications. Specifically, CBP applied Exemption (b)(5) redactions to
                                                               intra-agency email communications that contained draft language on the
                                                               impact of E.O. 13,769 on Trusted Traveler Programs. Disclosure of such
                                                               information could reasonably be expected to have a chilling effect on the
                                                               open and frank expression of ideas, recommendations, and opinions that
                                                               occurs when agency officials are discussing and crafting guidance on a
                                                               time-sensitive issue.

 EOFOIACBP0000001458-1506                (b)(7)(E)             Portions of the records listed at left are exempt from disclosure under FOIA
 (previously released as                                       exemption (b)(7)(E). All of these documents are law enforcement records
 0000000242-322), 0000000885-                                  presenting similar information redacted from each record.
 889, 0000000893-895,
 0000000898-907, 0000001508                                    CBP withheld under Exemption (b)(7)(E) certain “internal comments” and
                                                               certain “Ombudsman comments” from Global Entry revocation records
 CBPBATES00008495,00008498,                                    contained in CBP’s Global Enrollment System (GES) database. The
 00008502, 00008504, 00008505,                                 “internal comments” refer to the specific reasons why CBP revoked an
 00008506                                                      individual’s membership. The “Ombudsman comments” refer to the specific
                                                               reasons why the OMB reversed or sustained a TTP decision to revoke an
                                                               individual’s Global Entry membership. Disclosure of this information
                                                               would permit individuals to identify the types of information CBP maintains
                                                               for assessing risk and permit individuals to alter their patterns of conduct,
                                                               adopt new methods of operation, relocate, change associations, and or
                                                               effectuate other countermeasures, thus, corrupting the integrity of CBP’s
                                                               approach to risk assessment through ongoing techniques, operations and/or
                                                               investigations. Specifically, revealing the comments described above would
                                                               allow individuals to have better insight into what information CBP has, and
                                                               how that affects eligibility for Trusted Traveler membership, which could
                                                               reasonably support their efforts to circumvent the law.

                                                                         1
                            Case 1:17-cv-00708-CRC Document 15-1 Filed 02/19/18 Page 63 of 70
U.S. Customs and Border Protection | Vaughn Document Index for Exemptions (b)(5) and (b)(7)(E)
American-Arab Anti-Discrimination Committee v. U.S. Customs and Border Protection, No. 1:17-cv-00708-CRC (D.D.C.)



 CBPBATES00004472,                       (b)(7)(E)             Portions of the records listed at left are exempt from disclosure under FOIA
 00004489-4490, 00004495-                                      exemption (b)(7)(E). All of these documents are law enforcement records
 00004496, 00004501, 00004506-                                 presenting similar information redacted from each record.
 4507, 00004511-00004512,
 00004516-4517, 00004521,                                      CBP applied Exemption (b)(7)(E) to information which relates to CBP’s
 00004525, 00004529-4530,                                      process for assessing risk on travelers seeking to enter the United States.
 00004533, 00004536-4537,                                      This includes information regarding ongoing investigations or investigative
 00004539-4540, 00004542-4543,                                 techniques and procedures. Disclosure of such information would advise
 00004545, 00004548, 00004550-                                 potential violators of CBP’s law enforcement techniques and procedures,
 4551, 00004552, 00004554,                                     thereby enabling them to circumvent the law, avoid detection, and evade
 00004558-4559, 00004574,                                      apprehension. Moreover, revealing information regarding ongoing
 00004576, 00004578, 00004581,                                 investigations would thwart CBP’s current law enforcement efforts and risk
 00004583-4584, 00004587,                                      individuals circumventing CBP’s future efforts.
 00004589, 00004591-4593,
 00004595-4596, 00004598,
 00004600, 00004602, 00004603,
 00004606-4607, 00004609,
 00004612, 00004614, 00004618,
 00004620, 00004679, 00004681-
 4682, 00004692-4693;

 EOFOIACBP0000001507
 (previously released as
 0000000323)

 EOFOIACBP0000000872,                    (b)(7)(E)             Portions of the records listed at left are exempt from disclosure under FOIA
 CBPBATES00004480,                                             exemption (b)(7)(E). All of these documents are law enforcement records
 00004481, 00004482, 00004483;                                 presenting similar information redacted from each record.
 00004662; 00008495-8497,
 00008500-8501, 00008503-8506;                                 CBP withheld under Exemption (b)(7)(E) internal system codes and
 00008517-8523, 00008526-                                      information related to CBP system interfaces. Disclosure of such
 00008527.                                                     information could be used to locate, access, and navigate internal law

                                                                         2
                            Case 1:17-cv-00708-CRC Document 15-1 Filed 02/19/18 Page 64 of 70
U.S. Customs and Border Protection | Vaughn Document Index for Exemptions (b)(5) and (b)(7)(E)
American-Arab Anti-Discrimination Committee v. U.S. Customs and Border Protection, No. 1:17-cv-00708-CRC (D.D.C.)

                                                               enforcement computer systems and/or databases and risk compromising the
                                                               integrity of GES and other CBP systems.

 CBPBATES00004446-4447,                  (b)(7)(E)             Portions of the records listed at left are exempt from disclosure under FOIA
 00004449, 00004464, 00004637-                                 exemption (b)(7)(E). All of these documents are law enforcement records
 4638, 00004638-4639,                                          presenting similar information redacted from each record.
 00004668-4669, 00004671-
 00004672, 00004674-00004675,                                  CBP withheld email addresses of group list serves which are not known to
 00004676, 00004678, 00004696                                  the public and only used within the agency, because disclosure of that
                                                               information would reveal the means by which CBP communicates law
                                                               enforcement information and could reasonably be expected to risk
                                                               compromising the integrity of those email communications.




                                                                         3
Case 1:17-cv-00708-CRC Document 15-1 Filed 02/19/18 Page 65 of 70




          Exhibit L
                                   This document contains all Global Entry revocations and reinstatements from 11/6/16 until 6/6/17.
                         Case 1:17-cv-00708-CRC           Document
                                 This document was previously              15-1
                                                              released as EO      Filed
                                                                             FOIA CBP    02/19/18 Page 66 of 70
                                                                                      0000000242-0000000322.
                               This doucment is being re-released with updated redactions as EO FOIA CBP 0000001458 - 0000001506.




Revocation Date       PASSID          Last Name            First Name    Program       CitizenshipBirth Country         Internal Comments                          External Comment                           Current Status
                                                                                                                                            After further review, you do not meet the eligibility requirement
11/06/2016 17:13:57 b6   b7C b6 b7C               b6 b7C                Global Entry US           US              b7E                       due to a 2014 misdemeanor conviction.                             Revoked
                                                                                                                                            Your program membership has been revoked because your
11/07/2016 00:00:05                                                     Global Entry   DE         DE                                        194 Waiver of Inadmissibility document has expired.               Revoked
11/07/2016 08:55:54                                                     Global Entry   US         US                                        You do not meet the program eligibility requirement               Revoked
11/07/2016 10:16:54                                                     Global Entry   US         IN                                        You do not meet the program eligibility requirement               Revoked
11/07/2016 11:29:09                                                     Global Entry   US         JP                                        Applicant does not meet the strict standards of the program       Revoked
                                                                                                                                            Canadian Cancel Membership Message was received on Tu
11/07/2016 11:38:28                                                     Global Entry US           US                                        Dec 08 15:17:00 EST 2015                                          Revoked
11/07/2016 14:42:25                                                     Global Entry US           US                                        You do not meet program requirements                              Revoked
                                                                                                                                            Upon further review you no longer meet the program's eligibilit
                                                                                                                                            requirements. This is due to your recent arrest in 2016 for DUI
                                                                                                                                            that resulted in a misdemeanor conviction for RECKLESS
                                                                                                                                            DRIVING. A recent criminal conviction disqualifies you from this
11/07/2016 19:41:25                                                     Global Entry US           AT                                        program.                                                          Revoked
                                                                                                                                            Upon further review you no longer meet the program's eligibilit
                                                                                                                                            requirements due to your recent 2015 arrest for DUI that
                                                                                                                                            resulted in a criminal conviction. A recent criminal conviction
11/07/2016 19:54:18                                                     Global Entry US           US                                        disqualifies you from this program at this time.                  Revoked
                                                                                                                                            You do not meet the strict standard for the Global Entry
11/08/2016 09:20:41                                                     Global Entry US           US                                        Program, based on your 2016 DWI conviction.                       Revoked
11/08/2016 09:34:01                                                     Global Entry US           US                                        You no longer meet program eligibility requirement                Revoked
                                                                                                                                            You no longer meet program eligibility requirements due to you
11/08/2016 09:53:21                                                     Global Entry US           PH                                        recent CBP violation.                                             Revoked
11/08/2016 10:36:07                                                     Global Entry US           US                                        Revoked due to violation of Customs Law                           Revoked
11/08/2016 10:43:37                                                     Global Entry US           US                                        Revoked due to violation of U.S. Customs law                      Revoked
                                                                                                                                            All court documents not presented in the allotted time. You d
11/08/2016 11:15:56                                                     Global Entry US           US                                        not meet the Global Entry strict standards.                       Revoked
                                                                                                                                            You no longer meet program eligibility requirements due to you
11/08/2016 11:18:34                                                     Global Entry CN           CN                                        recent CBP violation.                                             Revoked
                                                                                                                                            You no longer meet program eligibility requirements due t
11/08/2016 11:28:38                                                     Global Entry   US         US                                        pending charges.                                                  Revoked
11/08/2016 12:34:21                                                     Global Entry   US         US                                        You no longer meet program eligibility requirement                Revoked
11/08/2016 12:50:29                                                     Global Entry   US         US                                        You no longer meet program eligibility requirement                Revoked
11/08/2016 13:18:08                                                     Global Entry   US         US                                        2X MISD. OFFENSE                                                  Revoked
                                                                                                                                            You do not meet the Global Entry strict standards: 2010 ¿ LA ¿
11/08/2016 13:27:40                                                     Global Entry US           US                                        CARELESS OPERATION OF A VEHICLE                                   Revoked

                                                                                                                                            On 11/6/2016 you attempted to bring your spouse who is not a
                                                                                                                                            member of the Trusted Traveler Program through the Global
                                                                                                                                            Entry lines at Philadelphia International Aiport without her being
                                                                                                                                            cleared by a CBP officer. In addition, you failed to properly
                                                                                                                                            declare purchases made overseas. Both constitute violations of
11/08/2016 13:36:52                                                     Global Entry US           US                                        program rules and your membership is therefore revoked.            Revoked
11/08/2016 13:37:11                                                     Global Entry US           US                                        Court documents not presented in the allotted time                 Revoked
11/08/2016 13:41:13                                                     Global Entry US           HK                                        You no longer meet program eligibility requirement                 Revoked
                                                                                                                                            You do not meet the Global Entry strict standards: 2014 ¿ LA ¿
11/08/2016 13:42:41                                                     Global Entry US           US                                        RECKLESS OPERATION OF A VEHICLE (RS 14:99)                         Revoked
                                                                                                                                            You no longer meet program eligibility requirements due to you
11/08/2016 15:37:59                                                     Global Entry US           US                                        recent CBP violation.                                              Revoked
                                                                                                                                            Your CBP Agriculture violation w/ penalty on 11/07/2016 at BW
                                                                                                                                            Airport makes you ineligible for Trusted Traveler Status. Your
11/08/2016 15:54:58                                                     Global Entry US           IR                                        membership has been revoked.                                       Revoked
                                                                                                                                            You do not meet the requirements for this program due to 198
11/08/2016 16:31:26                                                     Global Entry US           US                                        weapons-related conviction.                                        Revoked
                                                                                                                                            You no longer meet program eligibility requirements due to you
11/09/2016 11:21:38                                                     Global Entry US           US                                        recent CBP violation.                                              Revoked
                                                                                                                                            You no longer meet program eligibility requirements due to you
11/09/2016 13:19:41                                                     Global Entry US           US                                        recent CBP violation.                                              Revoked

11/09/2016 14:28:07                                                     Global Entry US           IN                                        No longer qualifies to be a member of the global entry program Revoked

11/09/2016 14:34:01                                                     Global Entry US           US                                        You no longer meet the eligibility requirements for Global Entry. Revoked
                                                                                                                                            You no longer meet program eligibility requirements due to you
11/09/2016 15:44:51                                                     Global Entry US           US                                        recent CBP violation.                                             Revoked
                                                                                                                                            You no longer meet program eligibility requirements due to you
11/09/2016 16:00:14                                                     Global Entry US           KR                                        recent CBP violation.                                             Revoked
                                                                                                                                            Revoked needs to provide court documents relating to crimina
11/09/2016 16:45:37                                                     Global Entry   US         US                                        offense                                                           Approved
11/09/2016 20:54:25                                                     Global Entry   US         US                                        1981 DUI. 2012 DUI.                                               Revoked
11/10/2016 08:15:02                                                     Global Entry   US         PH                                        You no longer meet program eligibility requirement                Revoked
11/10/2016 08:41:10                                                     Global Entry   CN         CN                                        Revoked due to violation of U.S. Customs law                      Revoked
11/10/2016 09:31:53                                                     Global Entry   CA         CA                                        You no longer meet program eligibility requirement                Revoked
11/10/2016 09:49:54                                                     Global Entry   US         US                                        You no longer meet program eligibility requirement                Revoked
11/10/2016 10:41:27                                                     Global Entry   US         US                                        You no longer meet program eligibility requirement                Revoked
11/10/2016 12:28:45                                                     Global Entry   US         US                                        You no longer meet program eligibility requirement                Revoked
11/10/2016 12:38:27                                                     Global Entry   MX         MX                                        YOU DO NOT MEET PROGRAM REQUIREMENTS.                             Revoked
                                                                                                                                            You do not meet the strict standard for the Global Entry
11/10/2016 12:43:13                                                     Global Entry US           US                                        Program.                                                          Revoked
                                                                                                                                            Applicant does not meet the strict standards of the Global Entry
11/10/2016 16:57:28                                                     Global Entry US           US                                        Program.                                                          Revoked
                                                                                                                                            Pending court case for 2016 arrest - You no longer meet the
11/11/2016 06:07:26                                                     Global Entry US           PK                                        program requirements.                                             Revoked
                                                                                                                                            You do not meet the strict standards of the Trusted Travele
11/11/2016 20:39:23                                                     Global Entry IN           IN                                        Program                                                           Revoked
11/12/2016 09:58:31                                                     Global Entry US           BG                                        You do not meet program requirements                              Revoked
11/12/2016 15:14:38                                                     Global Entry US           US                                        You do not meet the program eligibility requirement               Revoked

11/13/2016 08:20:06                                                     Global Entry US           DE                                        No longer qualifies to be a member of the global entry program. Revoked
                                                                                                                                            Applicant does not meet Global Entry Trusted Travele
11/14/2016 08:43:11                                                     Global Entry US           JM                                        Requirements.                                                   Revoked

11/14/2016 10:17:42                                                     Global Entry US           US                                        no longer qualifies to be a member of the global entry program   Revoked
11/14/2016 10:26:21                                                     Global Entry US           US                                        Does not meet Global Entry Trusted Traveler Program              Revoked
                                                                                                                                            YOU WERE ARRESTED FOR ASSAULT CAUSES BODILY
                                                                                                                                            INJURY FAMILY MEMBER ON 2016-08-04.SOUTHLAKE
                                                                                                                                            DPS POLICE SERVICES. Applicant does not meet strict
11/14/2016 14:29:00                                                     Global Entry US           US                                        standards for Global Entry membership.                           Revoked
                                                                                                                                            CONVICTED OF DRIVING WHILE INTOXICATED ON
                                                                                                                                            1/27/2016.Final Pleading: NO CONTEST OR NOLO
                                                                                                                                            CONTENDERE.
                                                                                                                                            Applicant does not meet strict standards for Global Entry
11/14/2016 15:05:03                                                     Global Entry US           ZA                                        membership                                                       Revoked
11/14/2016 15:19:57                                                     Global Entry US           US                                        You do not meet program requirements                             Revoked

                                                                                                                                            Arrested 2016-04-07,St. Louis County PD, POSSESSION OF
                                                                                                                                            CHILD PORNOGRAPHY,CLASSIFICATION: C FELONY
                                                                                                                                            Applicant does not meet strict standards for Global Entry
11/14/2016 15:28:22                                                     Global Entry US           IL                                        membership.                                               Revoked
11/14/2016 16:07:07                                                     Global Entry US           US                                        You no longer meet program eligibility requirement        Revoked

                                                                                                                                            You no longer meet the requirements for this program. You were
11/14/2016 16:11:54                                                     Global Entry US           US                                        in possession of an undeclared quantity of medications.          Revoked
                                                                                                                                            On 11/11/2016 you were issued a $500 penalty for for failing t
                                                                                                                                            declare : 2 whole pummelo fruits.Applicant does not meet strict
11/14/2016 16:59:44                                                     Global Entry US           TW                                        standards for Global Entry membership.                           Revoked
                                                                                                                                            Applicant does not meet the strict standards of the Global Entry
11/14/2016 17:37:01                                                     Global Entry   US         US                                        Program.                                                         Approved
11/15/2016 08:11:41                                                     Global Entry   US         DE                                        Payment Reversa                                                  Approved
11/15/2016 13:54:50                                                     Global Entry   KR         KR                                        You do not meet the program eligibility requirement              Revoked
11/15/2016 13:56:24                                                     Global Entry   KR         KR                                        You do not meet the program eligibility requirement              Revoked
11/15/2016 13:58:27                                                     Global Entry   US         US                                        You do not meet the program eligibility requirement              Revoked
11/15/2016 14:03:14                                                     Global Entry   US         US                                        You do not meet the program eligibility requirement              Revoked
11/15/2016 14:06:07                                                     Global Entry   US         CU                                        You do not meet the program eligibility requirement              Revoked
11/15/2016 14:07:59                                                     Global Entry   MX         MX                                        You do not meet the program eligibility requirement              Revoked
11/15/2016 14:12:35                                                     Global Entry   US         IL                                        You do not meet the program eligibility requirement              Revoked
11/15/2016 14:17:17                                                     Global Entry   US         US                                        You do not meet the program eligibility requirement              Approved




                                                                                                                                                                      EO FOIA CBP 0000001458
Case 1:17-cv-00708-CRC Document 15-1 Filed 02/19/18 Page 67 of 70
Case 1:17-cv-00708-CRC Document 15-1 Filed 02/19/18 Page 68 of 70
Case 1:17-cv-00708-CRC Document 15-1 Filed 02/19/18 Page 69 of 70
Case 1:17-cv-00708-CRC Document 15-1 Filed 02/19/18 Page 70 of 70
